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                                                             EXHIBIT A


    ·1· · · · · · · ·UNITED STATES DISTRICT COURT
    · · · · · · · · SOUTHERN DISTRICT OF FLORIDA
    ·2· · · · · · · · · · · MIAMI DIVISION

    ·3
    · ·   · · · · · · · CASE NO.:· 22-cv-21332-MARTINEZ/BECERRA
    ·4
    · ·   ·J.F.,
    ·5
    · ·   · · · · · · · Plaintiff,
    ·6·   ·VS.

    ·7·   ·CARNIVAL CORPORATION, a Panamanian
    · ·   ·Corporation d/b/a CARNIVAL CRUISE LINES,
    ·8
    · ·   · · · · · · · Defendant.
    ·9·   ·_________________________________/

    10
    · · · · · · · VIDEO DEPOSITION BY REMOTE ZOOM OF
    11· · · · · · · · · ·DOMINICK FROIO, JR.

    12
    · · · · · · · ·Taken on Behalf of the Plaintiff
    13

    14
    · ·   ·   ·   ·   ·DATE TAKEN:· · · · · February 28, 2023
    15·   ·   ·   ·   ·TIME:· · · · · · · · 10:07 AM - 1:10 PM
    · ·   ·   ·   ·   ·PLACE:· · · · · · · ·ALL Participants
    16·   ·   ·   ·   · · · · · · · · · · · Remotely by Zoom

    17

    18
    · ·   ·   · · · · · ·Deborah L. Waters, CLP, FPR
    19·   ·   · · · · · ·Stenographic Court Reporter
    · ·   ·   · · · · · ·Certified Legal Professional
    20·   ·   · · ·Certified Florida Professional Reporter
    · ·   ·   · · · · Board Certified Civil Trial Law SS
    21·   ·   ·and Notary Public, State of Florida at Large.

    22

    23

    24

    25
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                                                          Page 2                                                              Page 4
    ·1·   · · · · · · · APPEARANCES                                ·1·   ·ALL Participants· · · · · · · · · ·February 28, 2023
    ·2
                                                                   ··    ·by Remote Zoom
    ·3·   ·APPEARANCE ON BEHALF OF THE PLAINTIFF
    ·4
                                                                   ·2
    ·5·   ·   ·   ·   NICHOLAS I. GERSON, ESQUIRE                  ·3·   ·   ·   ·   · · · · · (Whereupon, the following
    · ·   ·   ·   ·   · GERSON & SCHWARTZ, P.A.                    ·4·   ·   ·   ·   proceedings were had:)
    ·6·   ·   ·   ·   · · · ·1980 Coral Way                        ·5·   ·   ·   ·   · · · · · THE VIDEOGRAPHER:· We are on the
    · ·   ·   ·   ·   · · Miami, Florida 33145
                                                                   ·6·   ·   ·   ·   record for the video deposition of
    ·7
    · ·   · · · · · · · 305.371.6000                               ·7·   ·   ·   ·   Dominick Froio, Jr. taken in the matter of
    ·8·   · · · · · ngerson@gslawusa.com                           ·8·   ·   ·   ·   J.F. versus Carnival Corporation, doing
    ·9                                                             ·9·   ·   ·   ·   business as Carnival Cruise Lines.
    10
                                                                   10·   ·   ·   ·   · · · · · Today is February 28th, 2023.
    11
    12                                                             11·   ·   ·   ·   And the time is 10:08 a.m.
    13·   ·APPEARANCE ON BEHALF OF THE DEFENDANT                   12·   ·   ·   ·   · · · · · This deposition is being
    14                                                             13·   ·   ·   ·   conducted by Zoom.· The court reporter is
    15·   ·   ·   · ·LAUREN N. CABEZA, ESQUIRE
                                                                   14·   ·   ·   ·   Deborah Waters and the videographer is
    · ·   ·   ·   · · ·WILLIAM SEITZ, ESQUIRE
    16·   ·   ·   ·CHARLOTTE A. ROBINSON, ESQUIRE
                                                                   15·   ·   ·   ·   Michael Stingo.
    · ·   ·   ·   · · MASE MEBANE SEITZ, P.A.                      16·   ·   ·   ·   · · · · · Will Counsel please introduce
    17·   ·   ·   · ·2001 South Biscayne Drive                     17·   ·   ·   ·   themselves after which the court reporter
    · ·   ·   ·   · · · · · ·Suite 800                             18·   ·   ·   ·   will swear in the witness.
    18·   ·   ·   · · · Miami, Florida 33131
                                                                   19·   ·   ·   ·   · · · · · MR. GERSON:· Nicholas Gerson on
    19·   ·   ·   · · · · · 305.377.3770
    20·   ·   ·   · · · lcabeza@maselaw.com                        20·   ·   ·   ·   behalf of the Plaintiff, J.F.
    · ·   ·   ·   · · · ·wseitz@maselaw.com                        21·   ·   ·   ·   · · · · · MS. CABEZA:· Lauren Cabeza and
    21                                                             22·   ·   ·   ·   Charlotte Robinson on behalf of the
    22
                                                                   23·   ·   ·   ·   Defendant.
    23·   · · · · · · · ALSO PRESENT
    24·   · · · Michael Stingo, Videographer
                                                                   24·   ·   ·   ·   · · · · · THE COURT REPORTER:· Would the
    25                                                             25·   ·   ·   ·   witness please raise your right hand.

                                                          Page 3                                                              Page 5
    ·1· · · · · · · · · ·INDEX OF PROCEEDINGS                      ·1·   · · · · · · · · Do you solemnly swear or affirm
    · · · · ·ZOOM VIDEO DEPOSITION OF DOMINICK FROIO, JR.
                                                                   ·2·   · · · that the testimony that you are about to
    ·2
                                                                   ·3·   · · · give in this matter will be the truth, the
    ·3· · · · · · · · · · · · · · · · · · · · · · · ·PAGE NO.
    ·4· ·Direct Examination by Mr. Gerson· · · · · · · · · ·7      ·4·   · · · whole truth, and nothing but the truth so
    · · ·Cross Examination by Ms. Cabeza· · · · · · · · · 128      ·5·   · · · help you God.
    ·5                                                             ·6·   ·WHEREUPON:
    · · ·Certificate of Oath· · · · · · · · · · · · · · · 138
                                                                   ·7·   · · · · · · · · ·DOMINICK FROIO, JR.,
    ·6· ·Certificate of Reporter· · · · · · · · · · · · · 139
                                                                   ·8·   ·a witness herein, acknowledged having been duly
    · · ·Errata Page· · · · · · · · · · · · · · · · · 140/141
    ·7                                                             ·9·   ·sworn and testified upon his oath as follows:
    ·8                                                             10·   · · · · · · · · THE WITNESS:· Yes, ma'am.
    ·9                                                             11·   · · · · · · · · THE COURT REPORTER:· Thank you,
    10                                                             12·   · · · sir.
    11
                                                                   13·   · · · · · · · · · DIRECT EXAMINATION
    12· · · · · · · · · · INDEX OF EXHIBITS
    13· · · · · · · · · ·PLAINTIFF'S EXHIBITS                      14·   ·BY MR. GERSON:
    14· ·NO.· · · · · · DESCRIPTION· · · · · · · · · PAGE NO.      15·   · · · Q· · Okay.· Good morning.
    15                                                             16·   · · · A· · Good morning.
    16· · 1· Horizon Deck Plan· · · · · · · · · · · · · · 137      17·   · · · Q· · I don't think we have ever met before.· My
    17
                                                                   18·   ·name is Nick Gerson and I will be taking your
    18· · · ·(***NOTE:· Exhibit 1 retained by Attorney Gerson
    · · · · · and not forwarded to the court reporter.)            19·   ·deposition today, Mr. Froio.
    19                                                             20·   · · · · · ·Have you had your deposition taken before?
    20· · · · · · · · · ·DEFENDANT'S EXHIBITS                      21·   · · · A· · Yes, I have.
    21· ·NO.· · · · · · DESCRIPTION· · · · · · · · · PAGE NO.      22·   · · · Q· · How many times have you had your
    22
                                                                   23·   ·deposition taken?
    23· · · · · · · · · · ·***** NONE *****
    24                                                             24·   · · · A· · Dozens of times in my life.
    25                                                             25·   · · · Q· · Are you employed?
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                                                         Page 6                                                        Page 8
    ·1·   · · · A· · I am retired but I have a consulting         ·1·   · · · A· · 2816 Oakbrook Manor, Weston, Florida
    ·2·   ·business.· I am retired.                               ·2·   ·33332.
    ·3·   · · · Q· · Where -- who did you retire from?            ·3·   · · · Q· · Okay.· And prior to appearing for today's
    ·4·   · · · A· · First from the New York State Police and     ·4·   ·deposition, did you have an opportunity to speak
    ·5·   ·then from Carnival Cruise Line.                        ·5·   ·with anyone from Carnival, including Carnival's
    ·6·   · · · Q· · Okay.· And how long were you employed with   ·6·   ·lawyers, about your deposition today?
    ·7·   ·Carnival Cruise Line?                                  ·7·   · · · A· · The Carnival attorneys.
    ·8·   · · · A· · Twenty-seven years.                          ·8·   · · · Q· · What Carnival attorneys did you speak to?
    ·9·   · · · Q· · And what was your position working at        ·9·   · · · A· · Lauren and Charlotte.
    10·   ·Carnival Cruise Line?                                  10·   · · · Q· · Anyone else?
    11·   · · · A· · Over the years I started as investigator,    11·   · · · A· · No, sir.
    12·   ·supervisor, manager, director, senior director, and    12·   · · · Q· · Did you speak to anyone about your
    13·   ·vice president.                                        13·   ·deposition from corporate?
    14·   · · · Q· · And when you retired, you retired as         14·   · · · A· · No, sir.
    15·   ·the -- was Vice President or Senior Vice President     15·   · · · Q· · When I say corporate, do you know what I
    16·   ·of Security?                                           16·   ·am referring to?
    17·   · · · A· · Vice President of Security.                  17·   · · · A· · Carnival Corporation, correct.
    18·   · · · Q· · Vice President of Security.                  18·   · · · Q· · Yes, I just want to make sure.
    19·   · · · · · ·(Mr. Seitz joined the Zoom deposition.)      19·   · · · A· · Yes, sir.
    20·   ·BY MR. GERSON:                                         20·   · · · Q· · Okay.· Did you do anything to prepare for
    21·   · · · Q· · And where are you testifying from today,     21·   ·today's deposition?
    22·   ·sir?                                                   22·   · · · A· · Just a short conversation with Lauren and
    23·   · · · A· · From a friend of mine's office up in         23·   ·Charlotte.
    24·   ·Sunrise, Florida.                                      24·   · · · Q· · And what was discussed?· What did they ask
    25·   · · · Q· · Okay.· Do you mind telling me who that       25·   ·you?

                                                         Page 7                                                        Page 9
    ·1·   ·friend is?                                             ·1·   · · · A· · If I was familiar with this case that I am
    ·2·   · · · A· · Pardon me?                                   ·2·   ·not familiar with.· I am kind of familiar, but
    ·3·   · · · Q· · Do you mind telling me who that friend is?   ·3·   ·recollection is not there at all.
    ·4·   · · · A· · Sherif Assal.                                ·4·   · · · Q· · I mean --
    ·5·   · · · Q· · Is he an employee of Carnival?               ·5·   · · · A· · Actually, I reached out to them because
    ·6·   · · · A· · No.                                          ·6·   ·your server served me a subpoena -- not me, to my
    ·7·   · · · Q· · Has he ever been an employee of Carnival?    ·7·   ·wife in the evening of Valentine's Day.· And it was
    ·8·   · · · · · · · · THE VIDEOGRAPHER:· Counsel, your        ·8·   ·an attachment regarding a Dodge Ram Charger and a
    ·9·   · · · audio is coming through not that great.           ·9·   ·warranty.· And I had no idea what the heck they are
    10·   ·BY MR. GERSON:                                         10·   ·talking about.
    11·   · · · Q· · Has he ever been an employee of Carnival?    11·   · · · Q· · I don't either.
    12·   · · · A· · Sherif Assal used to be a vendor of mine.    12·   · · · A· · That's attached.· So I don't know who has
    13·   · · · Q· · Okay.· And when you say a vendor of yours,   13·   ·our case attached to their subpoena.· That's why I
    14·   ·do you mean a vendor of Carnival's?                    14·   ·reached out to Curtis Mase's office.
    15·   · · · A· · Yes.                                         15·   · · · Q· · Okay.· And who did you reach out to from
    16·   · · · Q· · And what type of vendor?                     16·   ·Curtis Mase's office?
    17·   · · · A· · Shoreside security.                          17·   · · · A· · I was connected to Lauren and Charlotte.
    18·   · · · Q· · When you say a vendor of shoreside           18·   · · · Q· · Okay.· Did they -- you said you were
    19·   ·security, are you saying that Sherif Assal operated    19·   ·vaguely familiar with the case.· Tell me what your
    20·   ·a private company that provided shoreside security?    20·   ·familiarity was or is?
    21·   · · · A· · Yes, sir.                                    21·   · · · A· · That I signed off on a report.
    22·   · · · Q· · Is he in the room with you today?            22·   · · · Q· · What type of report?
    23·   · · · A· · No, sir.                                     23·   · · · A· · An investigative report.
    24·   · · · Q· · Okay.· Mr. Froio, what is your home          24·   · · · Q· · Concerning what?
    25·   ·address?                                               25·   · · · A· · Sexual assault allegation.
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                                                         Page 10                                                        Page 12
    ·1·   · · · Q· · And you have an independent recollection      ·1·   · · · A· · Executive vice president, yes.
    ·2·   ·about signing off about a sexual assault allegation?    ·2·   · · · Q· · And who would Lars report to; do you know?
    ·3·   · · · A· · To be honest with you, I don't.               ·3·   · · · A· · The President, Christine Duffy.
    ·4·   · · · Q· · Can you tell me what the name of that         ·4·   · · · Q· · So from a security standpoint, as far as
    ·5·   ·report is?                                              ·5·   ·Carnival Corporation is concerned, you were
    ·6·   · · · A· · It's an investigative report.                 ·6·   ·essentially one direct report away from Christine
    ·7·   · · · Q· · Okay.                                         ·7·   ·Duffy, correct?
    ·8·   · · · A· · And I am assuming -- not assuming, it must    ·8·   · · · A· · Yes, sir.
    ·9·   ·have been a sexual assault allegation.                  ·9·   · · · · · · · · MS. CABEZA:· Objection form.
    10·   · · · Q· · Okay.· You mentioned -- other than signing    10·   ·BY MR. GERSON:
    11·   ·off on the sexual assault allegation report, tell me    11·   · · · Q· · And Christine Duffy would be the C.E.O. of
    12·   ·what else you recall about this particular case         12·   ·Carnival; would that be correct?
    13·   ·involving J.F.?                                         13·   · · · A· · No, sir.
    14·   · · · A· · That it occurred in 2019 on a cruise ship.    14·   · · · Q· · Excuse me.· That would be Micky Arison.
    15·   · · · Q· · And what was being alleged?                   15·   · · · · · ·What was Christine Duffy's position?
    16·   · · · A· · Sexual assault.                               16·   · · · A· · President of Carnival Cruise Line.
    17·   · · · Q· · Was it also your understanding at the time    17·   · · · Q· · President of Carnival Cruise Line?
    18·   ·that it included not just a sexual assault but          18·   · · · A· · Yes, sir.
    19·   ·forceable penetration, such as rape?                    19·   · · · Q· · And then I imagine Ms. Duffy would report
    20·   · · · A· · I don't recall.                               20·   ·then to Mr. Arison, correct?
    21·   · · · · · · · · MS. CABEZA:· Objection form.             21·   · · · · · · · · MS. CABEZA:· Objection form.
    22·   ·BY MR. GERSON:                                          22·   · · · A· · Not directly to Micky, no.
    23·   · · · Q· · As -- tell me what else you -- when do you    23·   ·BY MR. GERSON:
    24·   ·recall signing off on that report?                      24·   · · · Q· · Okay.· Tell me what were your duties and
    25·   · · · A· · I don't.· It had to have been 2019.           25·   ·responsibilities as the Vice President of Carnival

                                                         Page 11                                                        Page 13
    ·1·   · · · Q· · I understand.                                 ·1·   ·Cruise Line when you left in 2020?
    ·2·   · · · · · ·You worked for Carnival for a significant     ·2·   · · · A· · I oversaw policies, procedures training,
    ·3·   ·period of time, correct?                                ·3·   ·shoreside security, ship security, criminal cases,
    ·4·   · · · A· · Yes, sir.                                     ·4·   ·in a nutshell.
    ·5·   · · · Q· · Twenty-seven years I think I counted or       ·5·   · · · Q· · Policies, procedures, shoreside security,
    ·6·   ·what you told me?                                       ·6·   ·criminal cases, trainings, anything else?
    ·7·   · · · A· · True.                                         ·7·   · · · A· · Shipboard security.
    ·8·   · · · Q· · Okay.· And how long did you serve as the      ·8·   · · · Q· · Shipboard security.
    ·9·   ·Vice President of Security for Carnival?                ·9·   · · · · · ·What else?
    10·   · · · A· · Ten years.                                    10·   · · · A· · That's it in a nutshell.
    11·   · · · Q· · And when did you retire?                      11·   · · · Q· · What about investigations?
    12·   · · · A· · June of 2020.                                 12·   · · · A· · The criminal side, yes.
    13·   · · · Q· · And the position as a Vice President of       13·   · · · Q· · Okay.· And by criminal investigations
    14·   ·Security Services at Carnival Cruise Line, who did      14·   ·would that include rape and sexual assault?
    15·   ·you report to?                                          15·   · · · A· · Yes, sir.
    16·   · · · A· · Over the years or lastly?                     16·   · · · Q· · Okay.· And who reported to you?
    17·   · · · Q· · Well, let's talk lastly.                      17·   · · · A· · Director -- when I retired?
    18·   · · · A· · My direct report lastly was Lars Ljoen,       18·   · · · Q· · Yes, sir.
    19·   ·L-J-O-E-N.                                              19·   · · · A· · Director Arturo Loynaz.
    20·   · · · Q· · L-J-O-E-N?                                    20·   · · · Q· · Arturo Munez?
    21·   · · · A· · Yes, sir.                                     21·   · · · A· · Arturo Loynaz, L-O-Y-N-A-Z.
    22·   · · · Q· · And what was his title?· Senior vice          22·   · · · Q· · L-O-Y-N-E-Z.
    23·   ·president?                                              23·   · · · A· · N-A-Z.
    24·   · · · A· · I think he was and EVP then.                  24·   · · · Q· · N-A-Z?
    25·   · · · Q· · EVP?                                          25·   · · · A· · Yes, sir.
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                                                         Page 14                                                        Page 16
    ·1·   · · · Q· · And does Arturo still work -- did you say     ·1·   · · · · · ·Why don't you tell me, what does Excelsior
    ·2·   ·Arturo?                                                 ·2·   ·do?
    ·3·   · · · A· · I am sorry, what?                             ·3·   · · · A· · Anything from law enforcement to
    ·4·   · · · Q· · Did you say his name was Arturo?              ·4·   ·testimony, cruise lines, whatever.· And as a matter
    ·5·   · · · A· · Arturo, yes.                                  ·5·   ·of fact, I am out there so I can do anything
    ·6·   · · · Q· · Does Arturo still work for Carnival?          ·6·   ·connected to the cruise industry or law enforcement.
    ·7·   · · · A· · Yes.· He took my place.                       ·7·   · · · Q· · Have you been -- has your company been
    ·8·   · · · Q· · So he is the current vice president of        ·8·   ·retained as an expert in the past to testify on
    ·9·   ·security services for Carnival?                         ·9·   ·behalf of Carnival with respect to the security
    10·   · · · A· · No, sir.· They eliminated the vice            10·   ·services provided on Carnival cruise ships?
    11·   ·president position during COVID.                        11·   · · · A· · No --
    12·   · · · Q· · What is the position called now?              12·   · · · · · · · · MS. CABEZA:· Objection form.
    13·   · · · A· · Senior director.                              13·   ·BY MR. GERSON:
    14·   · · · Q· · Senior director.                              14·   · · · Q· · You can answer.
    15·   · · · · · ·Did you -- just out of curiosity and I        15·   · · · A· · No, I haven't.
    16·   ·hope you don't mind me asking, did you agree to         16·   · · · Q· · Okay.· When was your company formed?
    17·   ·leave Carnival voluntarily or was your position         17·   · · · A· · Let's see.· I retired in 2020; worked for
    18·   ·changed and --                                          18·   ·a law firm when I retired; left there in 2020.· But
    19·   · · · A· · Well, when they did the cutbacks during       19·   ·I really didn't get active until last year.
    20·   ·COVID, I was, like, the oldest guy in the company       20·   · · · Q· · Are you doing any consulting work for
    21·   ·and they did cutbacks.· I was there 27 years and a      21·   ·Carnival?
    22·   ·mutual agreement, you know, 27 years there, 20 plus     22·   · · · A· · No, sir.
    23·   ·in law enforcement, it was enough.                      23·   · · · Q· · Are you doing any consulting work for any
    24·   · · · Q· · Okay.· So there were cutbacks due to COVID    24·   ·of the cruise lines?
    25·   ·and apparently, I guess, your position was              25·   · · · A· · Yes, sir.

                                                         Page 15                                                        Page 17
    ·1·   ·essentially changed or eliminated and you decided to    ·1·   · · · · · · · · MS. CABEZA:· Objection form.
    ·2·   ·retire?                                                 ·2·   ·BY MR. GERSON:
    ·3·   · · · A· · Yes, sir.                                     ·3·   · · · Q· · What cruise lines are you providing
    ·4·   · · · Q· · Okay.· And now you have a consulting          ·4·   ·consulting work for?
    ·5·   ·agency; is that correct?                                ·5·   · · · · · · · · MS. CABEZA:· Objection form.
    ·6·   · · · A· · Yes, sir.                                     ·6·   · · · A· · Norwegian Cruise Line.
    ·7·   · · · Q· · And what is that consulting agency called?    ·7·   ·BY MR. GERSON:
    ·8·   · · · A· · Excelsior Pros, Inc.· Excelsior               ·8·   · · · Q· · What others?
    ·9·   ·Professionals, Inc.                                     ·9·   · · · A· · That's it right now.
    10·   · · · Q· · Excelsior Professionals Pros, Inc.            10·   · · · Q· · Have you been contacted by anyone from
    11·   · · · A· · Forget the pros.· It's Excelsior              11·   ·Carnival to provide any consulting services on their
    12·   ·Professionals, Inc.                                     12·   ·behalf?
    13·   · · · Q· · Can you spell Excelsior, please.              13·   · · · A· · Not yet.
    14·   · · · A· · E-X-C-E-L-S-I-O-R.                            14·   · · · · · · · · MS. CABEZA:· Form.
    15·   · · · Q· · And what is your position with Excelsior?     15·   ·BY MR. GERSON:
    16·   · · · A· · I am the President.                           16·   · · · Q· · If you were asked to provide any
    17·   · · · Q· · You are the president, so you founded the     17·   ·consulting services for Carnival, would you?
    18·   ·company?                                                18·   · · · A· · Yes.
    19·   · · · A· · That's it.                                    19·   · · · · · · · · MS. CABEZA:· Objection form.
    20·   · · · Q· · And I don't know what Excelsior does, but     20·   ·BY MR. GERSON:
    21·   ·I would venture to guess that Excelsior provides        21·   · · · Q· · Yes?
    22·   ·consulting services for security issues?                22·   · · · A· · Yes, I would.
    23·   · · · · · · · · MS. CABEZA:· Objection form.             23·   · · · Q· · What is essentially -- does Excelsior have
    24·   ·BY MR. GERSON:                                          24·   ·a Website?
    25·   · · · Q· · Security services; is that correct?           25·   · · · A· · No, sir.
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    ·1·   · · · Q· · And how many employees does Excelsior         ·1·   ·BY MR. GERSON:
    ·2·   ·employ?                                                 ·2·   · · · Q· · Was that a formal policy that was in
    ·3·   · · · A· · Just me right now.                            ·3·   ·place?
    ·4·   · · · Q· · And you mentioned that you were speaking      ·4·   · · · A· · Yes, sir.
    ·5·   ·from a -- and I apologize for the name, it was a        ·5·   · · · Q· · When did that -- when did the sexual
    ·6·   ·funny name.· Shakeer I think you said his name was?     ·6·   ·predator screening go into effect on Carnival ships?
    ·7·   · · · A· · Sherif.                                       ·7·   · · · A· · 2016.
    ·8·   · · · Q· · Sherif.· Excuse me.                           ·8·   · · · Q· · And why was a sexual predator screening in
    ·9·   · · · · · ·Sherif, is he an employee of your company?    ·9·   ·2016 implemented on Carnival cruise ships?
    10·   · · · A· · No, sir.                                      10·   · · · A· · A proactive measure to try to prevent any
    11·   · · · Q· · When you say that you provide consulting      11·   ·further incidents along with other training we
    12·   ·services for NCL, tell me what type of consulting       12·   ·implemented.
    13·   ·you are doing for NCL currently?                        13·   · · · Q· · Tell me about that.
    14·   · · · · · · · · MS. CABEZA:· Objection form.             14·   · · · A· · About what?
    15·   · · · A· · Sexual screening.· Sexual predator            15·   · · · Q· · About the need to identify potential
    16·   ·screening.                                              16·   ·sexual predators on cruise ships, Carnival cruise
    17·   ·BY MR. GERSON:                                          17·   ·ships, when you decided to implement this program
    18·   · · · Q· · Sexual predator screening?                    18·   ·that you are referring to in 2016?
    19·   · · · A· · Sexual offender, yeah.                        19·   · · · A· · Why I did it?
    20·   · · · Q· · Okay.· And tell me what does that mean?       20·   · · · Q· · Yes.
    21·   · · · A· · That means it is a program that I did at      21·   · · · A· · To be proactive in the event that we had a
    22·   ·Carnival.· And we would screen the manifest prior to    22·   ·child molester, rapist, or whatever boarding our
    23·   ·sailing and compare it against the Department of        23·   ·vessel we would know or we would reject them from
    24·   ·Justice sexual offender list and advise the company     24·   ·sailing.
    25·   ·that so and so has a conviction for a sexual            25·   · · · Q· · At the time that you decided to implement

                                                         Page 19                                                        Page 21
    ·1·   ·offense.                                                ·1·   ·this sexual predator screener or screening, you, as
    ·2·   · · · Q· · Anything else?                                ·2·   ·the Director of Security Services for Carnival -- or
    ·3·   · · · A· · That's it right now.                          ·3·   ·excuse me, the Vice President of Security Services
    ·4·   · · · Q· · If you were asked to provide a risk           ·4·   ·for Carnival, understood that there was a problem
    ·5·   ·assessment of the security protocols in place on a      ·5·   ·with sex crimes on cruise ships, including Carnival
    ·6·   ·Norwegian ship, is that something that you would be     ·6·   ·cruise ships; did you not?
    ·7·   ·capable of providing?                                   ·7·   · · · · · · · · MS. CABEZA:· Objection form.
    ·8·   · · · A· · Yes.                                          ·8·   · · · A· · Well, you try to prevent as much as you
    ·9·   · · · · · · · · MS. CABEZA:· Objection form.             ·9·   ·can of anything.· You know, the ships are like a
    10·   ·BY MR. GERSON:                                          10·   ·city.· So, say, I was in law enforcement, you know,
    11·   · · · Q· · Yes?                                          11·   ·you patrol, you do what you can to prevent an
    12·   · · · A· · Yes, sir.                                     12·   ·incident from happening.· And the screening seemed
    13·   · · · Q· · Now you mentioned that sexual predator        13·   ·to be a good policy to put in place along with the
    14·   ·offense -- sexual predator offender screening is        14·   ·training that we combined with it, which was with
    15·   ·something that you are working with Norwegian right     15·   ·RAINN.· And we did as much as we could with what we
    16·   ·now on a consulting basis, correct?                     16·   ·had to prevent as much as we could.
    17·   · · · A· · Yes.                                          17·   ·BY MR. GERSON:
    18·   · · · · · · · · MS. CABEZA:· Objection form.             18·   · · · Q· · Up until 2016 Carnival had no policy in
    19·   ·BY MR. GERSON:                                          19·   ·place for identifying potential sexual predators?
    20·   · · · Q· · And you also told me that that is a           20·   · · · · · · · · MS. CABEZA:· Objection form.
    21·   ·program that you had in place at Carnival; is that      21·   · · · A· · You know what, I am having a problem
    22·   ·my -- is that a correct statement?                      22·   ·hearing what Lauren is saying.
    23·   · · · · · · · · MS. CABEZA:· Objection form.             23·   ·BY MR. GERSON:
    24·   · · · A· · Yes, sir.                                     24·   · · · Q· · She is objecting to the form of the
    25                                                             25·   ·question.
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    ·1·   · · · A· · Okay.                                         ·1·   ·Washington, D.C. to speak with members of Congress
    ·2·   · · · Q· · And you should just answer the question as    ·2·   ·about CVSSA?
    ·3·   ·if there is no objection.                               ·3·   · · · A· · Staffers, yes.
    ·4·   · · · A· · Okay.                                         ·4·   · · · Q· · Okay.· Was the Cruise Ship Vessel Safety
    ·5·   · · · Q· · It's just for the record.· Okay?              ·5·   ·and Security Act legislation that was drafted by
    ·6·   · · · A· · All right.· Thanks.                           ·6·   ·people within the cruise line industry?
    ·7·   · · · · · ·And what was the question again?              ·7·   · · · A· · We got together.· It was the Coast Guard
    ·8·   · · · Q· · Sure.                                         ·8·   ·that was behind -- was the main push behind this
    ·9·   · · · · · ·Prior to 2016 Carnival had no procedure in    ·9·   ·with the FBI.
    10·   ·place for identifying potential sexual predators        10·   · · · Q· · So you understand that the enactment of
    11·   ·correct?                                                11·   ·CVSSA was legislation that was proposed by people
    12·   · · · · · · · · MS. CABEZA:· Same objection.             12·   ·outside of the cruise line industry, such as -- or
    13·   · · · A· · Not this type of screening, no.               13·   ·non-cruise line companies, such as the Coast Guard
    14·   ·BY MR. GERSON:                                          14·   ·and the FBI, to address the growing concern and
    15·   · · · Q· · And tell me, do you agree generally that      15·   ·problems with rape, sexual assault, and other
    16·   ·there are standards for safety and security             16·   ·violent crimes occurring on cruises in foreign or
    17·   ·applicable to cruise ships that if implemented could    17·   ·international waters, correct?
    18·   ·reduce the prevalence of rape, sexual assault on        18·   · · · · · · · · MS. CABEZA:· Objection form.
    19·   ·cruise lines?                                           19·   · · · A· · Yes, sir.
    20·   · · · · · · · · MS. CABEZA:· Objection form.             20·   ·BY MR. GERSON:
    21·   · · · A· · You could try the best you can, but it's      21·   · · · Q· · And did you oppose any of these safety or
    22·   ·not going to stop human nature behind closed doors.     22·   ·security measures that were enacted by Congress as
    23·   ·BY MR. GERSON:                                          23·   ·part of CVSSA?
    24·   · · · Q· · Okay.· And tell me what was the background    24·   · · · A· · Did I oppose?· Not that I can recall.
    25·   ·behind or the -- or the buildup that led to the         25·   · · · Q· · Prior to the enactment of CVSSA, did the

                                                         Page 23                                                        Page 25
    ·1·   ·decision to implement this program to address sex       ·1·   ·cruise line -- were the cruise lines required to
    ·2·   ·crimes, including rape, sexual assault on cruise        ·2·   ·maintain rape kits on its ships?
    ·3·   ·ships?                                                  ·3·   · · · A· · Yes, sir.
    ·4·   · · · · · · · · MS. CABEZA:· Objection form.             ·4·   · · · Q· · Were they required or did Congress require
    ·5·   · · · A· · Well, the Cruise Vessel Safety and            ·5·   ·cruise lines to have rape kits on its cruise ships
    ·6·   ·Security Act, a lot of measures were put in place.      ·6·   ·as part of enacting the CVSSA in 2010?
    ·7·   ·A lot of good measures.· And you try to think out of    ·7·   · · · · · · · · MS. CABEZA:· Objection form.
    ·8·   ·the box to do the best you can and this was a great     ·8·   · · · A· · The best I can recall it was internally
    ·9·   ·idea.                                                   ·9·   ·that we had rape kits on the ship.· It wasn't
    10·   ·BY MR. GERSON:                                          10·   ·mandated until CVSSA came out.· But we had rape kits
    11·   · · · Q· · Okay.· And the Cruise Ship Vessel Safety      11·   ·on the vessels.
    12·   ·and Security Act, that was -- what is your              12·   ·BY MR. GERSON:
    13·   ·understanding of what that was?                         13·   · · · Q· · Tell me who from Congress did you -- did
    14·   · · · · · · · · MS. CABEZA:· Objection form.             14·   ·you ever attend any formal hearings as part of CVSSA
    15·   · · · A· · To implement standards for certain crime      15·   ·or --
    16·   ·reporting, overboard cameras, there is several          16·   · · · A· · No, sir.
    17·   ·different things in CVSSA.                              17·   · · · Q· · What members of Congress did you speak
    18·   ·BY MR. GERSON:                                          18·   ·with about its enactment?
    19·   · · · Q· · Did you attend any of the hearings in         19·   · · · A· · They were staff members.· I couldn't tell
    20·   ·front of the Senate Commerce Committee when the         20·   ·you their names.
    21·   ·CVSSA was proposed to Congress?                         21·   · · · Q· · Did you understand as the Vice
    22·   · · · A· · I spoke to congressional staffers, not the    22·   ·President -- were you at the time CVSSA was enacted,
    23·   ·congressional meetings themselves.                      23·   ·were you the Vice President of Security Services for
    24·   · · · Q· · And when you said you spoke to                24·   ·Carnival?
    25·   ·congressional staffers, you actually went to            25·   · · · A· · Yes, sir.
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    ·1·   · · · Q· · Okay.· And at the time that CVSSA --          ·1·   ·BY MR. GERSON:
    ·2·   · · · A· · Now wait a minute.· Wait a minute. I          ·2·   · · · Q· · Okay.· And tell me how many cruise ships
    ·3·   ·think it was enacted in July of 2010.· I may have       ·3·   ·were you -- were within Carnival's fleet at the
    ·4·   ·been a senior director then.· I don't think I made      ·4·   ·time CVS -- or strike that.
    ·5·   ·VP until the end of 2010.                               ·5·   · · · · · ·How many cruise ships did you oversee as
    ·6·   · · · Q· · Okay.· So some time between twenty -- some    ·6·   ·the Vice President of Security when you retired in
    ·7·   ·time in 2010?                                           ·7·   ·twenty -- well, let's say as of 2019?· Was it 26?
    ·8·   · · · A· · Uh-huh.                                       ·8·   · · · A· · Great.· I am glad you reminded me.· Yes,
    ·9·   · · · Q· · You were the Vice President of Security       ·9·   ·26.
    10·   ·Services for Carnival, correct?                         10·   · · · Q· · And all of the cruise ships within
    11·   · · · A· · Yes, sir.                                     11·   ·Carnival's fleet -- we are just talking about
    12·   · · · Q· · And then in 2010 you were one of              12·   ·Carnival; we are not talking about any of its
    13·   ·Carnivals's executive -- executives that was            13·   ·subsidiaries:· Holland America, Princess -- your
    14·   ·involved in addressing the Coast Guard and FBI's        14·   ·focus was solely Carnival Cruise Line ships or were
    15·   ·attempts to reform cruise line reporting and other      15·   ·you also responsible for implementing any policies
    16·   ·safety security measures with respect to rape,          16·   ·and procedures or changes in response to CVSSA on
    17·   ·sexual assault, and other violent crimes on -- not      17·   ·behalf of any other Carnival entity?
    18·   ·just Carnival cruise ships, but within the cruise       18·   · · · · · · · · MS. CABEZA:· Objection form.
    19·   ·line industry?                                          19·   · · · A· · We would have semi-annual meetings with
    20·   · · · · · · · · MS. CABEZA:· Objection form.             20·   ·the corporate partners within Carnival and discuss
    21·   · · · A· · Yes, sir.                                     21·   ·issues.· And then we would have meetings every 60
    22·   ·BY MR. GERSON:                                          22·   ·days with Cruise Line International security
    23·   · · · Q· · And did you understand at the time when       23·   ·meetings up in D.C.· So we collaborated internally
    24·   ·CVSSA was enacted that the cruise lines were not        24·   ·and externally with the industry.
    25·   ·required to report rape or sexual assault or violent    25

                                                         Page 27                                                        Page 29
    ·1·   ·crimes to any authority?                                ·1·   ·BY MR. GERSON:
    ·2·   · · · · · · · · MS. CABEZA:· Objection form.             ·2·   · · · Q· · Okay.· As a Senior Vice President or the
    ·3·   · · · A· · Were they formally required?· No, they        ·3·   ·Vice President of Security Services for Carnival,
    ·4·   ·were required to report.                                ·4·   ·did you agree that there was a need for changes in
    ·5·   ·BY MR. GERSON:                                          ·5·   ·order to improve safety and security for passengers
    ·6·   · · · Q· · Well, what was your --                        ·6·   ·on Carnival cruise ships and in the cruise line
    ·7·   · · · A· · I think there -- I believe there is a -- I    ·7·   ·industry in general?
    ·8·   ·am trying to remember.· I have been out of the lane     ·8·   · · · · · · · · MS. CABEZA:· Objection form.
    ·9·   ·for quite a few years here, so bear with me.            ·9·   · · · A· · When you say a need, I can tell you that
    10·   · · · · · ·There was reporting requirements listed       10·   ·we reported everything at Carnival.· Whether it was
    11·   ·with the Coast Guard.· I cannot remember the            11·   ·a need for the whole industry, I don't know if I
    12·   ·section.· It had to do with reporting felony            12·   ·would use the word need.
    13·   ·incidents.                                              13·   ·BY MR. GERSON:
    14·   · · · Q· · Okay.· And so the CVSSA was -- Carnival       14·   · · · Q· · What would you call it?
    15·   ·understood at the time, or you understood as the        15·   · · · A· · We reported everything.
    16·   ·Director and also as the Vice President of Security     16·   · · · Q· · Okay.· Well, CVSSA was legislation that
    17·   ·Services for Carnival in 2010, that the reason why      17·   ·was enacted in response to the growing concern about
    18·   ·Cruise Ship Vessel Safety and Security Act of 2010      18·   ·the number of rapes, sexual assaults, and other
    19·   ·was passed was in order to focus on the well-being      19·   ·violent crimes that were occurring within the cruise
    20·   ·of passengers with respect to violent crimes that       20·   ·line industry, right?
    21·   ·were occurring on cruise ships, including Carnival      21·   · · · · · · · · MS. CABEZA:· Objection form.
    22·   ·vessels?                                                22·   · · · A· · Right.
    23·   · · · · · · · · MS. CABEZA:· Objection form.             23·   ·BY MR. GERSON:
    24·   · · · A· · Yes, sir.                                     24·   · · · Q· · Okay.· And who other than yourself was
    25                                                             25·   ·involved with speaking with members from Congress
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                                                         Page 30                                                        Page 32
    ·1·   ·about CVSSA prior to its enactment?                     ·1·   ·now -- here again, I have been out of the lane for a
    ·2·   · · · A· · Speaking to Congress or in my case the        ·2·   ·while -- that they are mandating areas where there
    ·3·   ·staffers.· I mean, CLIA represented the industry        ·3·   ·must be coverage.
    ·4·   ·with Congress.                                          ·4·   · · · Q· · Okay.· So at the time CVSSA was enacted,
    ·5·   · · · Q· · And CLIA is what?                             ·5·   ·this is about where J.F.'s alleged rape and sexual
    ·6·   · · · A· · Cruise Line International Association.        ·6·   ·assault happened in 2019, and that would have been
    ·7·   ·They represent the industry.                            ·7·   ·about nine years since CVSSA was enacted, if it was
    ·8·   · · · Q· · CLIA is comprised mainly of members or --     ·8·   ·enacted in 2010, correct?
    ·9·   ·members of the cruise line industry, correct?           ·9·   · · · A· · Yes, sir.
    10·   · · · A· · Yes, sir.                                     10·   · · · · · · · · MS. CABEZA:· Objection form.
    11·   · · · Q· · Okay.· You understand that CVSSA required     11·   ·BY MR. GERSON:
    12·   ·cruise vessels that visited U.S. ports to meet          12·   · · · Q· · And at the time CVSSA was enacted,
    13·   ·certain safety and security requirements that did       13·   ·Congress required that the cruise lines maintain
    14·   ·not exist prior to it being enacted, correct?           14·   ·security cameras in areas of ships; is that what you
    15·   · · · A· · Correct.                                      15·   ·are telling me?
    16·   · · · · · · · · MS. CABEZA:· Objection form.             16·   · · · · · · · · MS. CABEZA:· Objection form.
    17·   ·BY MR. GERSON:                                          17·   · · · A· · They didn't mandate internal cameras in
    18·   · · · Q· · And that included reporting allegations of    18·   ·2010.· The mandate had to do with retention periods,
    19·   ·certain crimes to the FBI, correct?                     19·   ·I believe, overboard capturing.· That's all I can
    20·   · · · A· · Yes.                                          20·   ·recall right now.
    21·   · · · · · · · · MS. CABEZA:· Objection form.             21·   ·BY MR. GERSON:
    22·   ·BY MR. GERSON:                                          22·   · · · Q· · Prior to its enactment did the cruise
    23·   · · · Q· · And what was your understanding of why        23·   ·lines -- were the cruise lines required to offer
    24·   ·that was required?                                      24·   ·passengers the right to contact -- or United States
    25·   · · · A· · It put in place mandatory reporting           25·   ·citizens access to the FBI?

                                                         Page 31                                                        Page 33
    ·1·   ·policies for the industry.                              ·1·   · · · · · · · · MS. CABEZA:· Objection form.
    ·2·   · · · Q· · Okay.· And tell me what is your               ·2·   · · · A· · Well, you are dating me here.· Required?
    ·3·   ·understanding of the other requirements that CVSSA      ·3·   ·BY MR. GERSON:
    ·4·   ·mandated the cruise line industry, including            ·4·   · · · Q· · Prior to its enactment?
    ·5·   ·Carnival, with respect to rape and sexual assaults?     ·5·   · · · A· · Was it required?· No, it was not required
    ·6·   · · · · · · · · MS. CABEZA:· Objection form.             ·6·   ·but it was offered.
    ·7·   · · · A· · Other than criminal?· Is that --              ·7·   · · · Q· · Okay.· Are you aware of any penalties that
    ·8·   ·BY MR. GERSON:                                          ·8·   ·exist in the event that the cruise lines, such as
    ·9·   · · · Q· · Let's just talk about in the context of       ·9·   ·Carnival, don't comply with provisions of CVSSA?
    10·   ·rape and sexual assault prevention.                     10·   · · · · · · · · MS. CABEZA:· Objection form.
    11·   · · · A· · Can you repeat that question now.             11·   · · · A· · I cannot remember what the penalties were
    12·   · · · Q· · Sure.                                         12·   ·or are.· I just don't recall.
    13·   · · · · · ·What I am asking is, what are the other --    13·   ·BY MR. GERSON:
    14·   ·what were the other requirements, other than the        14·   · · · Q· · Okay.· Now you worked for Carnival for a
    15·   ·mandated reporting requirements to the FBI required     15·   ·considerable period of time.· And I think you said
    16·   ·by CVSSA that you know of?                              16·   ·when you first started working for Carnival you
    17·   · · · A· · Mandatory rape kits in the infirmaries.       17·   ·worked as an investigator?
    18·   ·Camera coverage.                                        18·   · · · A· · Yes, sir.
    19·   · · · Q· · Where was the camera coverage required?       19·   · · · Q· · And how long -- just walk me through,
    20·   · · · A· · Where was it required?                        20·   ·briefly if you would, your employment history
    21·   · · · Q· · Yes.                                          21·   ·through Carnival up until your retirement?
    22·   · · · A· · I believe they are coming out with that       22·   · · · A· · My years and different positions?
    23·   ·requirement now.· Back then it was about overboard      23·   · · · Q· · Yeah, just generally if you could to the
    24·   ·capture and overboard incidents.· They left it up to    24·   ·best that you can.· I mean, I know you already told
    25·   ·the cruise lines to place cameras, but I believe        25·   ·me that you were an investigator for a period of
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    ·1·   ·time.· But just help me understand how you worked       ·1·   · · · A· · I don't recall that being in there.
    ·2·   ·your way up the ranks so to speak.                      ·2·   · · · Q· · Okay.· But it is your testimony that you
    ·3·   · · · A· · How did I work my way up the ranks?           ·3·   ·believe now that Carnival Cruise Line is beginning
    ·4·   ·Hopefully because I did a good job.· I started as an    ·4·   ·to implement or install security cameras in the
    ·5·   ·investigator for a few years and then I became a        ·5·   ·stateroom corridors; is that correct?
    ·6·   ·supervisor.· We took on more responsibilities way       ·6·   · · · A· · The newer vessels --
    ·7·   ·back.· We started -- I started off thinking I was       ·7·   · · · · · · · · MS. CABEZA:· Objection form.
    ·8·   ·learning a new field in the casino business.· My old    ·8·   · · · A· · (Continued) The newer vessels had more
    ·9·   ·boss ran a casino detail in Atlantic City.· So I was    ·9·   ·cameras than the older vessels.
    10·   ·then looking for a change of pace in my life and        10·   ·BY MR. GERSON:
    11·   ·that changed.                                           11·   · · · Q· · Okay.
    12·   · · · · · ·I did some of the casino work for a couple    12·   · · · A· · They were being proactive.
    13·   ·of years and then we took on shipboard security,        13·   · · · Q· · Are you familiar with the American -- are
    14·   ·shoreside security, investigations.· And I got          14·   ·you familiar with -- well, let me just go back into
    15·   ·promoted through the ranks because of the activity      15·   ·a little bit of your background.
    16·   ·and the assignments given to us.· I guess you would     16·   · · · · · ·You mentioned before working for Carnival
    17·   ·call it a bigger span of control.                       17·   ·you were a New York police officer; is that correct?
    18·   · · · Q· · Okay.· Prior to working as the vice --        18·   · · · A· · State Police.
    19·   ·prior to being hired as the Vice President of           19·   · · · Q· · State Police?
    20·   ·Security Services, you were, I think you said, the      20·   · · · A· · Yes, sir.
    21·   ·Director of Security?                                   21·   · · · Q· · Okay.· And are you a certified security
    22·   · · · A· · Prior to VP I was the Senior Director.        22·   ·professional?
    23·   · · · Q· · Prior to VP you were the Senior Director?     23·   · · · A· · Do I have a certificate?· No, sir.
    24·   · · · A· · Yes, sir.                                     24·   · · · Q· · Yeah.
    25·   · · · Q· · And how were your duties and                  25·   · · · · · ·Do you hold any security licenses?

                                                         Page 35                                                        Page 37
    ·1·   ·responsibilities as the senior director different       ·1·   · · · A· · No, sir.
    ·2·   ·from the -- as the vice president?                      ·2·   · · · Q· · Have you ever held a security license?
    ·3·   · · · A· · Well, as the vice president you were also     ·3·   · · · A· · No, sir.
    ·4·   ·called the company security officer, which is           ·4·   · · · Q· · Are you familiar with an organization
    ·5·   ·mandated in international law.                          ·5·   ·called As Is?
    ·6·   · · · Q· · Uh-huh.                                       ·6·   · · · A· · Yes, sir.
    ·7·   · · · A· · So it's another hat that you wear with        ·7·   · · · Q· · What is As Is?
    ·8·   ·more responsibility.                                    ·8·   · · · A· · The Association of Industrial Security or
    ·9·   · · · Q· · Okay.· Going back to the CVSSA, Cruise        ·9·   ·something like that.
    10·   ·Ship Vessel Safety and Security Act of 2010, were       10·   · · · Q· · Are you or has Carnival ever been a member
    11·   ·the cruise lines required to maintain security          11·   ·of As Is?
    12·   ·cameras in the hallway corridors or corridors for       12·   · · · · · · · · MS. CABEZA:· Objection form.
    13·   ·passenger staterooms?                                   13·   · · · A· · Not me.· There could be people in the
    14·   · · · · · · · · MS. CABEZA:· Objection form.             14·   ·company that are.
    15·   · · · A· · They were not required.                       15·   ·BY MR. GERSON:
    16·   ·BY MR. GERSON:                                          16·   · · · Q· · Okay.· Well, as the Director -- the Vice
    17·   · · · Q· · And as a part of CVSSA was there any          17·   ·President of Security Services were you ever a
    18·   ·requirement to increase the number of security          18·   ·member of As Is?
    19·   ·officers that were working security on Carnival         19·   · · · A· · No.
    20·   ·cruise ships that you are aware of?                     20·   · · · · · · · · MS. CABEZA:· Objection form.
    21·   · · · · · · · · MS. CABEZA:· Objection form.             21·   ·BY MR. GERSON:
    22·   · · · A· · In the CVSSA does it require to have more     22·   · · · Q· · No?
    23·   ·security?                                               23·   · · · A· · No, sir.
    24·   ·BY MR. GERSON:                                          24·   · · · Q· · Okay.· And what security certifications do
    25·   · · · Q· · Yes.                                          25·   ·you hold aside from the fact that you were a New
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                                                         Page 38                                                        Page 40
    ·1·   ·York State Police officer?                              ·1·   ·BY MR. GERSON:
    ·2·   · · · · · · · · MS. CABEZA:· Objection form.             ·2·   · · · Q· · And you were required to wear a uniform?
    ·3·   · · · A· · I am certified in the state of Florida in     ·3·   · · · · · · · · MS. CABEZA:· Objection form.
    ·4·   ·law enforcement, too.                                   ·4·   · · · A· · When you start, you wear a uniform, yes.
    ·5·   ·BY MR. GERSON:                                          ·5·   ·BY MR. GERSON:
    ·6·   · · · Q· · Tell me when you say you are certified as     ·6·   · · · Q· · Okay.· And I imagine the uniform consisted
    ·7·   ·a law enforcement officer, can you tell me what you     ·7·   ·of a badge and perhaps a hat and the typical police
    ·8·   ·mean by that?                                           ·8·   ·attire?
    ·9·   · · · A· · I went to a comparative compliance course     ·9·   · · · · · · · · MS. CABEZA:· Objection form.
    10·   ·when I moved here and I was employed by the State       10·   · · · A· · New York State Police doesn't wear badges.
    11·   ·Attorney's office in Broward County as an               11·   ·BY MR. GERSON:
    12·   ·investigator.· So you had to be certified in law        12·   · · · Q· · Aside from the badge, police officers had
    13·   ·enforcement.                                            13·   ·a formal uniform that was different from other
    14·   · · · Q· · Okay.· Do you agree -- or generally           14·   ·members of the public, correct?
    15·   ·speaking the duties and responsibilities as a New       15·   · · · A· · Yes.
    16·   ·York State Police officer are different than those      16·   · · · · · · · · MS. CABEZA:· Objection form.
    17·   ·of a security officer working on a cruise ship, do      17·   ·BY MR. GERSON:
    18·   ·you agree with that or disagree with that?              18·   · · · Q· · On Carnival cruise ships security
    19·   · · · · · · · · MS. CABEZA:· Objection form.             19·   ·officers' uniforms are similar to that of other
    20·   · · · A· · Are they similar; is that what you are        20·   ·regular crew members; would you agree with that
    21·   ·saying?· I am sorry.· Unfortunately the lawn mowing     21·   ·generally?
    22·   ·people are outside my window and I cannot hear          22·   · · · A· · To a certain extent.
    23·   ·everything.                                             23·   · · · Q· · They don't have -- they don't wear hats?
    24·   ·BY MR. GERSON:                                          24·   ·There is nothing indicating to anyone that a
    25·   · · · Q· · Are the duties and responsibilities as a      25·   ·security officer as opposed to someone working on

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    ·1·   ·New York State Police officer when you were working     ·1·   ·the pool deck, they basically have a similar type of
    ·2·   ·as a New Your State Police officer, are they            ·2·   ·uniform, correct?
    ·3·   ·different from the duties and responsibilities of a     ·3·   · · · · · · · · MS. CABEZA:· Objection form.
    ·4·   ·security officer working on a Carnival cruise ship?     ·4·   · · · A· · They are labeled security.
    ·5·   · · · · · · · · MS. CABEZA:· Objection form.             ·5·   ·BY MR. GERSON:
    ·6·   · · · A· · More stringent than a state police.           ·6·   · · · Q· · Okay.· When you say they are labeled
    ·7·   ·BY MR. GERSON:                                          ·7·   ·security, what do you mean by that?
    ·8·   · · · Q· · Tell me why or how so?                        ·8·   · · · A· · ID badges, epilates.
    ·9·   · · · A· · Well, I was in charge of major crimes. I      ·9·   · · · Q· · But nothing on the shirt that says
    10·   ·had to carry a weapon.· You had to wear a vest.         10·   ·security across the chest, right?
    11·   ·Just for starters that's all off the top of my head.    11·   · · · · · · · · MS. CABEZA:· Objection form.
    12·   · · · Q· · You had --                                    12·   · · · A· · In the back.· I believe they had security
    13·   · · · A· · Training.· More training, certifications      13·   ·written on the back.
    14·   ·in different areas of crime, different courses          14·   ·BY MR. GERSON:
    15·   ·attended.                                               15·   · · · Q· · Okay.· Do you know what the height and
    16·   · · · Q· · Were there height and weight requirements     16·   ·weight requirements were for a security officer
    17·   ·in order for you to be a New York State Police          17·   ·working on a Carnival cruise ship back in 2019?
    18·   ·officer?                                                18·   · · · A· · There weren't any.
    19·   · · · · · · · · MS. CABEZA:· Objection form.             19·   · · · Q· · Why not?
    20·   · · · A· · Back in the day, yes.                         20·   · · · · · · · · MS. CABEZA:· Objection form.
    21·   ·BY MR. GERSON:                                          21·   · · · A· · The requirements have been reduced over
    22·   · · · Q· · What were they?· Do you know?                 22·   ·the years everywhere, so I don't know what to tell
    23·   · · · · · · · · MS. CABEZA:· Objection form.             23·   ·you.
    24·   · · · A· · 5 foot 10.                                    24·   ·BY MR. GERSON:
    25                                                             25·   · · · Q· · Tell me what you mean by that?
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    ·1·   · · · A· · I don't know what to tell you.                ·1·   · · · · · · · · MS. CABEZA:· Objection form.
    ·2·   · · · Q· · When you say what requirements --             ·2·   · · · A· · Yes, that coupled with the training that
    ·3·   · · · A· · You can't discriminate against a short        ·3·   ·they get.
    ·4·   ·person, a heavy person.                                 ·4·   ·BY MR. GERSON:
    ·5·   · · · Q· · Well, when you were working as a member of    ·5·   · · · Q· · And when you say the training that they
    ·6·   ·law enforcement for the New York State Police           ·6·   ·get, what training was required that a security
    ·7·   ·Department there was a minimum height requirement of    ·7·   ·officer possessed in order to work on a Carnival
    ·8·   ·5'10", correct?                                         ·8·   ·cruise ship on the security team?
    ·9·   · · · · · · · · MS. CABEZA:· Objection form.             ·9·   · · · · · · · · MS. CABEZA:· Objection form.
    10·   · · · A· · Yes, sir.                                     10·   · · · A· · In 2019 we had, like, an academy in the
    11·   ·BY MR. GERSON:                                          11·   ·Philippines that all security had to attend. I
    12·   · · · Q· · And there is no comparable requirement for    12·   ·cannot recall the length of the training.· It was --
    13·   ·a security officer working for Carnival, is there?      13·   ·I don't know if it was six weeks or whatever it was.
    14·   · · · · · · · · MS. CABEZA:· Objection form.             14·   ·And it is like a mini police academy and there are
    15·   · · · A· · You are talking way back as opposed to        15·   ·certain blocks of training, but they have to pass.
    16·   ·today's world.                                          16·   · · · · · ·Once they pass that with their prior
    17·   ·BY MR. GERSON:                                          17·   ·experience, they go on board and then they are
    18·   · · · Q· · Let's just talk about as of 2019.· There      18·   ·assigned to a senior security officer.· There,
    19·   ·wasn't any, okay, was there?                            19·   ·again, I cannot recall the length of time they
    20·   · · · · · · · · MS. CABEZA:· Objection form.             20·   ·shadow the senior security officer.· And then they
    21·   · · · A· · No.                                           21·   ·make the decision whether or not they are good to go
    22·   ·BY MR. GERSON:                                          22·   ·on their own or need to go back to their country.
    23·   · · · Q· · And tell me what was -- as the Vice           23·   ·BY MR. GERSON:
    24·   ·President of Security Services for Carnival, what       24·   · · · Q· · Why is it that Carnival Cruise Line had a
    25·   ·were the requirements, the minimum requirements, for    25·   ·company in the Philippines providing training to

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    ·1·   ·a security -- in order to be a security officer on a    ·1·   ·potential security officers, as opposed to formal
    ·2·   ·Carnival cruise ship?                                   ·2·   ·training here in the United States, even Miami-Dade
    ·3·   · · · · · · · · MS. CABEZA:· Objection form.             ·3·   ·County, with security professionals from As Is and
    ·4·   · · · A· · Prior experience in security, prior law       ·4·   ·other leading security organizations?
    ·5·   ·enforcement, English written and oral skills.· We       ·5·   · · · · · · · · MS. CABEZA:· Objection form.
    ·6·   ·like to have people proportioned to their height,       ·6·   · · · A· · It ended up being a corporate decision.
    ·7·   ·but, again, you cannot discriminate.                    ·7·   ·BY MR. GERSON:
    ·8·   ·BY MR. GERSON:                                          ·8·   · · · Q· · As a member -- you would agree that you
    ·9·   · · · Q· · Okay.· When you say prior experience in       ·9·   ·are part of that corporate decision-making process,
    10·   ·security, if someone had -- do you know what the        10·   ·weren't you?
    11·   ·minimum experience requirements were in order to        11·   · · · · · · · · MS. CABEZA:· Objection form.
    12·   ·work for security on a Carnival cruise ship back in     12·   · · · A· · I am not the top dog.
    13·   ·2019?                                                   13·   ·BY MR. GERSON:
    14·   · · · · · · · · MS. CABEZA:· Objection form.             14·   · · · Q· · I understand.
    15·   · · · A· · Three years.                                  15·   · · · · · ·But certainly you had a voice in security
    16·   ·BY MR. GERSON:                                          16·   ·needs or changes, just as you told me that you were
    17·   · · · Q· · Three years?                                  17·   ·involved in this policy to identify sexual
    18·   · · · A· · Yes, sir.                                     18·   ·predators, right?
    19·   · · · Q· · And if someone were to work security at       19·   · · · · · · · · MS. CABEZA:· Objection form.
    20·   ·the airport screening luggage for drugs and             20·   · · · A· · Right.
    21·   ·paraphernalia and maintained that position for three    21·   ·BY MR. GERSON:
    22·   ·years, would that qualify them for having the           22·   · · · Q· · Okay.· Did you ever do anything to look --
    23·   ·requisite number of years of security background in     23·   ·well, strike that.
    24·   ·order to potentially work as a security employee on     24·   · · · · · ·What did you do as a -- or what did your
    25·   ·a Carnival ship?                                        25·   ·security -- what did you do as director -- as the
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    ·1·   ·Vice President of Security Services to evaluate the     ·1·   ·Actually we were the first to get certified in the
    ·2·   ·curriculum and training that was provided by this       ·2·   ·industry.
    ·3·   ·Philippines training that your security officers        ·3·   ·BY MR. GERSON:
    ·4·   ·would have to undergo before working on a Carnival      ·4·   · · · Q· · As a director -- or Vice President of
    ·5·   ·ship as a security officer.                             ·5·   ·Security Services for Carnival, how was the decision
    ·6·   · · · · · · · · MS. CABEZA:· Objection form.             ·6·   ·made in terms of what a sufficient number of
    ·7·   · · · A· · Well, corporate ran the mini academy or       ·7·   ·security officers were needed in order to adequately
    ·8·   ·whatever you want to call it.· And the semi-annual      ·8·   ·provide reasonable safety and security measures in
    ·9·   ·meetings that we had with corporate, the sister         ·9·   ·order to address the rape, sexual assault, and
    10·   ·lines, we would suggest curriculum.· And it was         10·   ·violent crimes that had been occurring on cruise
    11·   ·implemented that way.                                   11·   ·ships prior to 2019?
    12·   ·BY MR. GERSON:                                          12·   · · · · · · · · MS. CABEZA:· Objection form.
    13·   · · · Q· · What -- when you say we would suggest         13·   · · · A· · You are talking to a security guy that
    14·   ·curriculum, what was the name of the Filipino           14·   ·always wanted more.
    15·   ·institution that was providing this security            15·   ·BY MR. GERSON:
    16·   ·training for potential security officers?               16·   · · · Q· · What is that based on?
    17·   · · · A· · It was called Magsaysay.                      17·   · · · A· · Based on finance budgets, size of ships,
    18·   · · · Q· · Can you spell that please.                    18·   ·demographics, where they are sailing out of.· You
    19·   · · · A· · I think it's M-A-G-S-A-Y-S-A-Y.               19·   ·would do the best you can with what you had.
    20·   · · · Q· · M-A-G-S-A-Y-S-A-Y.                            20·   · · · Q· · As a security professional -- as a
    21·   · · · A· · Yes, sir.                                     21·   ·security officer -- excuse me.· As a member of
    22·   · · · Q· · And do you know what the training             22·   ·Carnival's executive team or executives, you wanted
    23·   ·consisted of?                                           23·   ·more security officers on Carnival cruise ships,
    24·   · · · A· · There was some physical training, report      24·   ·correct?
    25·   ·writing, different scenarios that they acted out,       25·   · · · · · · · · MS. CABEZA:· Objection form.

                                                         Page 47                                                        Page 49
    ·1·   ·disorderly people, riot control, sexual assault.        ·1·   · · · A· · And the last I heard that they are getting
    ·2·   ·There again, jogging my memory.                         ·2·   ·them.· So I think they listened to me, but I am
    ·3·   · · · Q· · Other than training in the Philippines,       ·3·   ·gone.
    ·4·   ·did Carnival have any other places for security         ·4·   ·BY MR. GERSON:
    ·5·   ·officers to receive these trainings prior to            ·5·   · · · Q· · Okay.· But before you were gone, you were
    ·6·   ·being -- prior to being hired as a security officer     ·6·   ·pressing Carnival or requesting that Carnival
    ·7·   ·on a Carnival cruise ship?                              ·7·   ·increase the number of security officers on its
    ·8·   · · · · · · · · MS. CABEZA:· Objection form.             ·8·   ·cruise ships, correct?
    ·9·   · · · A· · Initially it was an on-the-job training       ·9·   · · · · · · · · MS. CABEZA:· Objection form.
    10·   ·course that we had outlined that we developed within    10·   · · · A· · Security people always want more security.
    11·   ·Carnival Cruise Line, which covered a multitude of      11·   ·Law enforcements always wants more law enforcement.
    12·   ·report writing.· There, again, scenarios, different     12·   ·BY MR. GERSON:
    13·   ·scenarios from self-defense to investigative            13·   · · · Q· · Okay.
    14·   ·techniques to evidence collecting.                      14·   · · · A· · We had enough security to handle what we
    15·   · · · · · ·And then every two years we would have an     15·   ·had to handle.
    16·   ·in house in the United States training course for       16·   · · · Q· · Okay.· And are you familiar with someone
    17·   ·ship security officers.· And by that I mean officers    17·   ·by the name of Mike Panarello?
    18·   ·ranked, like the staff captain and chief security       18·   · · · A· · Yes, sir.
    19·   ·officers.· And in that course we would have the FBI,    19·   · · · Q· · It is my understanding he passed away?
    20·   ·Homeland Security, D.E.A., local police, federal air    20·   · · · A· · That's correct.
    21·   ·marshals.                                               21·   · · · Q· · I am sorry to hear that.
    22·   · · · · · ·Internally we would conduct our own           22·   · · · · · ·Mr. Panarello -- how many times did
    23·   ·training with the personnel in my office.· And, of      23·   ·Mr. Panarello voice his request to have an increased
    24·   ·course, it was certified by MARAD, Maritime             24·   ·number of security officers on Carnival cruise ships
    25·   ·Administration, that was part of the CVSSA.             25·   ·when he was working in his capacity as a member of
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    ·1·   ·Carnival's security team?                               ·1·   ·personnel on its vessels, correct?
    ·2·   · · · · · · · · MS. CABEZA:· Objection form.             ·2·   · · · A· · Yes.
    ·3·   · · · A· · Probably as many as I did.                    ·3·   · · · · · · · · MS. CABEZA:· Objection form.
    ·4·   ·BY MR. GERSON:                                          ·4·   ·BY MR. GERSON:
    ·5·   · · · Q· · How many times was that?                      ·5·   · · · Q· · And what did that mean to you?
    ·6·   · · · A· · I have no idea.                               ·6·   · · · A· · It fell in line with what I always say.
    ·7·   · · · Q· · Too many to remember?                         ·7·   ·You always want more.
    ·8·   · · · · · · · · MS. CABEZA:· Objection form.             ·8·   · · · Q· · Do you agree that generally as someone who
    ·9·   · · · A· · It was a long time ago, Counselor.            ·9·   ·has worked for -- as a member of law enforcement
    10·   ·BY MR. GERSON:                                          10·   ·for, I think you said, 20 some years prior to
    11·   · · · Q· · Well, in the years prior to 2019 there        11·   ·working for Carnival, correct?
    12·   ·were semi-annual meetings where members of the          12·   · · · A· · Correct.
    13·   ·security officers, assistant chief security             13·   · · · Q· · You agree that a function of security, an
    14·   ·officers, would convene to address security issues      14·   ·important function of security, is deterrence?
    15·   ·that they were experiencing with other senior           15·   · · · · · · · · MS. CABEZA:· Objection form.
    16·   ·executives, correct?                                    16·   · · · A· · Deterrence?· Sure.
    17·   · · · · · · · · MS. CABEZA:· Objection form.             17·   ·BY MR. GERSON:
    18·   · · · A· · Correct.                                      18·   · · · Q· · If security officers are present or police
    19·   ·BY MR. GERSON:                                          19·   ·officers are preset in an area, that can have a
    20·   · · · Q· · And at those meetings, isn't it true that     20·   ·deterrability affect on someone that may be thinking
    21·   ·there had been concerns -- there had been requests      21·   ·about committing a crime, correct?
    22·   ·by not just Mr. Panarello but also the actual           22·   · · · · · · · · MS. CABEZA:· Objection form.
    23·   ·security officers -- assistant chief security           23·   · · · A· · In their presence.· It doesn't mean around
    24·   ·officers that attended the meetings that they needed    24·   ·the corner something is not going to happen.
    25·   ·more security officers on their ships?                  25

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    ·1·   · · · A· · They voiced their opinions.                   ·1·   ·BY MR. GERSON:
    ·2·   · · · · · · · · MS. CABEZA:· Objection form.             ·2·   · · · Q· · Understood.
    ·3·   ·BY MR. GERSON:                                          ·3·   · · · · · ·So the more security officers that you
    ·4·   · · · Q· · Say that again?                               ·4·   ·have in general on, say, a cruise ship, the more
    ·5·   · · · A· · They voiced their opinions.                   ·5·   ·security presence can be -- is potentially visible
    ·6·   · · · Q· · Okay.· And who attended those meetings?       ·6·   ·to your passengers, correct?
    ·7·   · · · A· · During security meetings or conferences?      ·7·   · · · · · · · · MS. CABEZA:· Objection form.
    ·8·   · · · Q· · At the conferences?                           ·8·   · · · A· · That's correct.
    ·9·   · · · A· · That would be myself, my staff, staff         ·9·   ·BY MR. GERSON:
    10·   ·captains, chief security officers, assistant chief      10·   · · · Q· · Okay.· And so when the security
    11·   ·security officers.                                      11·   ·officers -- so you knew for about -- at least nine
    12·   · · · Q· · Did the assistant chief security officers     12·   ·years or so that there had been requests by
    13·   ·that were requesting additional security officers be    13·   ·assistant chief security officers and Mr. Panarello
    14·   ·deployed on Carnival cruise ships, that occurred        14·   ·that they were -- they wanted more security
    15·   ·while you were a Vice President of Security for         15·   ·personnel on its ships.
    16·   ·Carnival, correct?                                      16·   · · · · · ·And my question is, did you ever discuss
    17·   · · · · · · · · MS. CABEZA:· Objection form.             17·   ·that with anyone that you reported to.
    18·   · · · A· · I am not sure I understand what you mean.     18·   · · · · · · · · MS. CABEZA:· Objection form.
    19·   ·BY MR. GERSON:                                          19·   · · · A· · Yes, sir.
    20·   · · · Q· · Sure.                                         20·   ·BY MR. GERSON:
    21·   · · · · · ·Between 2010 and the time that you retired    21·   · · · Q· · And they told you it wasn't in the budget?
    22·   ·from Carnival, over that timeframe there had been a     22·   · · · · · · · · MS. CABEZA:· Objection form.
    23·   ·request from the assistant security officers and        23·   · · · A· · Sometimes things go on deaf ears.· They
    24·   ·other people within the security services team for      24·   ·had other priorities that they are looking at.
    25·   ·Carnival that Carnival increase its security            25·   ·Security nowadays, I would think, is a higher
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    ·1·   ·profile and they understand.· And it wasn't in the      ·1·   ·BY MR. GERSON:
    ·2·   ·budget.                                                 ·2·   · · · Q· · When did they do that?
    ·3·   ·BY MR. GERSON:                                          ·3·   · · · · · · · · MS. CABEZA:· Objection form.
    ·4·   · · · Q· · How do you know that?                         ·4·   · · · A· · What year?
    ·5·   · · · A· · That is why we would assign different         ·5·   ·BY MR. GERSON:
    ·6·   ·numbers of security to different ships based on the     ·6·   · · · Q· · Yeah.
    ·7·   ·port that they are sailing out of, the demographics.    ·7·   · · · A· · I have no idea.
    ·8·   ·And it's a game of chess to make sure you have an       ·8·   · · · · · ·We even formed, like, an auxillary group
    ·9·   ·adequate amount of security on a high-profile ship,     ·9·   ·in the event there was a large fight or something
    10·   ·let's say.                                              10·   ·like that.· We had people on call.· That is when we
    11·   · · · Q· · And just for the record, I didn't get this    11·   ·started playing chess, like I was telling you,
    12·   ·established.· What was your understanding of Mike       12·   ·demographically at the port of call, trouble ships
    13·   ·Panarello was?                                          13·   ·we would move security around, started adding more
    14·   · · · A· · He was my director at the time.               14·   ·security little by little.
    15·   · · · Q· · So you reported to him?                       15·   · · · · · ·And my understanding is they have really
    16·   · · · A· · I was the VP.                                 16·   ·increased it since I left.
    17·   · · · Q· · Who reported to who?· I am sorry?· Oh, he     17·   ·BY MR. GERSON:
    18·   ·reported -- he was the director and he reported to      18·   · · · Q· · Well, prior to your leaving, they didn't
    19·   ·you?                                                    19·   ·increase the number of security officers on Carnival
    20·   · · · A· · Yes, sir.                                     20·   ·cruise ships?
    21·   · · · Q· · Okay.· So when -- did you ever send any       21·   · · · A· · A couple of ships they did.
    22·   ·documentation to -- well, who would you have had        22·   · · · Q· · Do you know which ones they increased?
    23·   ·discussions with about the request by security          23·   · · · A· · No.
    24·   ·officers to have additional security personnel on       24·   · · · Q· · Why would they have increased security
    25·   ·its ships during the time you were the Vice             25·   ·officers on a couple of ships as opposed to fleet

                                                         Page 55                                                        Page 57
    ·1·   ·President of Security?                                  ·1·   ·wide?
    ·2·   · · · · · · · · MS. CABEZA:· Objection form.             ·2·   · · · A· · Activity on the vessels.· When a ship goes
    ·3·   · · · A· · I answered to several different people in     ·3·   ·from port to port to port that absorbs a lot of
    ·4·   ·those ten years, so.                                    ·4·   ·security.· That coupled with incidents occurring on
    ·5·   ·BY MR. GERSON:                                          ·5·   ·ship A is more than ship B, you would mathematically
    ·6·   · · · Q· · Who was the last person as of 2019?           ·6·   ·add one or two more security.
    ·7·   · · · A· · As of 2019 Lars Ljoen.                        ·7·   · · · Q· · When you were working as Vice President of
    ·8·   · · · Q· · Lars Ljoen.                                   ·8·   ·Security, did you ever hire a company to -- strike
    ·9·   · · · · · ·And Mr. Ljoen, did you ever submit any        ·9·   ·that.
    10·   ·memos or written requests to document --                10·   · · · · · ·Did you ever conduct a risk assessment of
    11·   · · · A· · I could have done emails.· I am a             11·   ·Carnival ships that were within the 26 vessels of
    12·   ·face-to-face person.                                    12·   ·Carnival's fleet in 2019 or prior to 2019?
    13·   · · · Q· · Uh-huh.· Did you attend -- sorry.             13·   · · · · · · · · MS. CABEZA:· Objection form.
    14·   · · · A· · No, go ahead.                                 14·   · · · A· · You mean hire an outside vendor for the
    15·   · · · · · ·I like face-to-face because you can tell      15·   ·assessment?
    16·   ·whether or not it is sinking in to the person you       16·   ·BY MR. GERSON:
    17·   ·are talking to.                                         17·   · · · Q· · Yes.
    18·   · · · Q· · Did you feel like it was sinking in?          18·   · · · A· · No.
    19·   · · · · · · · · MS. CABEZA:· Objection form.             19·   · · · Q· · How was the decision made about what a
    20·   · · · A· · Yeah, to a certain extent.· Yes.              20·   ·sufficient number of security officers was in order
    21·   ·BY MR. GERSON:                                          21·   ·to adequately provide a safe number or an adequate
    22·   · · · Q· · Did they ever increase the number of          22·   ·number of security officers in order to prevent
    23·   ·security officers despite your request?                 23·   ·rape, sexual assault, and other violent crimes as
    24·   · · · A· · Yes, they did.                                24·   ·defined by the -- or any other violent crimes?
    25·   · · · · · · · · MS. CABEZA:· Objection form.             25·   · · · · · · · · MS. CABEZA:· Objection form.
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    ·1·   · · · A· · There, again, based on port of calls, the     ·1·   ·BY MR. GERSON:
    ·2·   ·itinerary, demographics, coming up with different       ·2·   · · · Q· · Who other than Lars did you request more
    ·3·   ·types of training to be proactive.· I mentioned         ·3·   ·security prior -- during the time that you were
    ·4·   ·earlier RAINN training to be certified by RAINN that    ·4·   ·working as Vice President of Security for Carnival?
    ·5·   ·our on board staff and our shoreside staff knew what    ·5·   · · · A· · His predecessor, Martin Landman, he was
    ·6·   ·they were doing on how to handle a sexual assault.      ·6·   ·the -- I don't know if he was a senior VP or an EVP.
    ·7·   ·I mean, things like that were implemented.              ·7·   ·It goes back to other presidents that were there. I
    ·8·   · · · · · ·And apparently, like I said, they listened    ·8·   ·can't be factual on who, when, and where I requested
    ·9·   ·because my understanding is they are getting all        ·9·   ·it.· But I can tell you that I did.
    10·   ·kinds of security now.                                  10·   · · · Q· · All right.· Generally speaking over the --
    11·   · · · Q· · Well, now we are four years later in 2023     11·   ·between 2015 and 2019 you would have made requests
    12·   ·and it's your testimony as a former vice president      12·   ·to your direct supervisors and other executives of
    13·   ·of Carnival security that Carnival is now               13·   ·Carnival to increase the number of security officers
    14·   ·undertaking measures to increase its security           14·   ·on all Carnival ships?
    15·   ·presence on its ships?                                  15·   · · · · · · · · MS. CABEZA:· Objection form.
    16·   · · · · · · · · MS. CABEZA:· Objection form.             16·   · · · A· · I wouldn't lock in to 2015.
    17·   · · · A· · What I am saying is they started when I       17·   ·BY MR. GERSON:
    18·   ·was there little by little with different ideas.        18·   · · · Q· · Well, I am saying within at least that
    19·   ·The auxillary backup teams, the more training,          19·   ·duration of time, I am not saying 2015 specifically?
    20·   ·moving security around based on the itineraries and     20·   · · · · · · · · MS. CABEZA:· Objection form.
    21·   ·demographics, the incidents.· And little by little      21·   · · · A· · In my tenure as vice president I have
    22·   ·they are doing it.                                      22·   ·asked for more security, yes.
    23·   ·BY MR. GERSON:                                          23·   ·BY MR. GERSON:
    24·   · · · Q· · Did you --                                    24·   · · · Q· · Okay.· And if you had more security
    25·   · · · A· · They had big delay with this COVID stuff,     25·   ·officers available to you -- well, strike that.

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    ·1·   ·so I don't know what's happened in the last couple      ·1·   · · · · · ·How many more security officers were you
    ·2·   ·of years to be honest with you.                         ·2·   ·requesting on Carnival ships?
    ·3·   · · · Q· · When you said that you had made requests      ·3·   · · · · · · · · MS. CABEZA:· Objection form.
    ·4·   ·to Mr. Lars Ljoen to increase the number of security    ·4·   · · · A· · It would depend on the size of the vessel,
    ·5·   ·officers, you were told that it wasn't in the --        ·5·   ·the itinerary, the activity.· I cannot give you a
    ·6·   ·they didn't have -- it wasn't in the budget so to       ·6·   ·number right now.
    ·7·   ·speak?                                                  ·7·   ·BY MR. GERSON:
    ·8·   · · · · · · · · MS. CABEZA:· Objection form.             ·8·   · · · Q· · Okay.· Are you aware of -- well, if you
    ·9·   · · · A· · It is not told to you that way.               ·9·   ·were requesting the number of security of officers
    10·   ·BY MR. GERSON:                                          10·   ·over the years that you were working as the Vice
    11·   · · · Q· · How is it told?                               11·   ·President of Security to Carnival, you had some
    12·   · · · A· · At the end of the day you see the numbers     12·   ·basis and understanding of what the security actual
    13·   ·you put in for and you see the numbers you are          13·   ·deployment schedules were on Carnival ships,
    14·   ·getting.                                                14·   ·correct?
    15·   · · · Q· · How many additional security officers were    15·   · · · · · · · · MS. CABEZA:· Objection form.
    16·   ·you requesting to work security on a Carnival cruise    16·   · · · A· · Correct.
    17·   ·ship with, say, 15 decks?                               17·   ·BY MR. GERSON:
    18·   · · · · · · · · MS. CABEZA:· Objection form.             18·   · · · Q· · And I know you make reference to different
    19·   · · · A· · Now you really date me on that.· I don't      19·   ·ports and different vessels, but you would agree
    20·   ·want to commit to a number.· But all I can tell you     20·   ·generally, sir, that of all of Carnival's 26 ships,
    21·   ·is I did request more security.                         21·   ·they all have at least about a dozen decks and hold
    22·   ·BY MR. GERSON:                                          22·   ·thousands of passengers and thousands of crew
    23·   · · · Q· · How many times?                               23·   ·members, correct?
    24·   · · · · · · · · MS. CABEZA:· Objection form.             24·   · · · · · · · · MS. CABEZA:· Objection form.
    25·   · · · A· · No idea.                                      25·   · · · A· · Correct.
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    ·1·   ·BY MR. GERSON:                                          ·1·   ·BY MR. GERSON:
    ·2·   · · · Q· · If we were to look at the Carnival            ·2·   · · · Q· · And so then if we had roughly 20, that
    ·3·   ·Horizon, for instance, the Carnival Horizon as I        ·3·   ·would leave roughly nine security officers that were
    ·4·   ·understand is a passenger ship that carried up to       ·4·   ·actually the troops on the ground to patrol Carnival
    ·5·   ·3,960 passengers.· Does that sound correct?             ·5·   ·vessels and act as security or provide security,
    ·6·   · · · · · · · · MS. CABEZA:· Objection form.             ·6·   ·correct?
    ·7·   · · · A· · I can't recall.                               ·7·   · · · · · · · · MS. CABEZA:· Objection form.
    ·8·   ·BY MR. GERSON:                                          ·8·   · · · A· · That would vary on the itinerary.· That
    ·9·   · · · Q· · Well, I will represent -- does that sound     ·9·   ·varies.· That is a whole scheduling issue.
    10·   ·generally speaking?                                     10·   ·BY MR. GERSON:
    11·   · · · A· · I will take your word for it.                 11·   · · · Q· · What does the itinerary have to do with --
    12·   · · · · · · · · MS. CABEZA:· Objection form.             12·   ·you know, ports of call?· What does a port of call
    13·   ·BY MR. GERSON:                                          13·   ·have to do with a problem, such as rape and sexual
    14·   · · · Q· · Okay.· And the -- are you familiar with --    14·   ·assaults occurring on Carnival cruise ships?
    15·   ·well, strike that.                                      15·   · · · A· · Ports of calls you have gangways down.
    16·   · · · · · ·Generally speaking, what is your              16·   ·You could have one down, two down, marshaling areas
    17·   ·understanding of the approximate number of security     17·   ·open.· You need more security manning those
    18·   ·officers that were working as security on a Carnival    18·   ·positions.· And then there is activity at the pools,
    19·   ·vessel, such as the Horizon, just tell me generally     19·   ·the hot spots where the bars are.· So it all depends
    20·   ·what that number was as you understood it.              20·   ·on the itinerary and the size of the ship.
    21·   · · · · · · · · MS. CABEZA:· Objection form.             21·   · · · Q· · Okay.· Well, aside from the itinerary, so
    22·   · · · A· · Generally I believe 20.                       22·   ·if you had nine security officers that were working,
    23·   ·BY MR. GERSON:                                          23·   ·say, an eight- to 12-hour shift on, say, the
    24·   · · · Q· · Okay.· And of the 20, not all of those        24·   ·Carnival Horizon, wouldn't -- and the Carnival
    25·   ·security officers would work the same shift, would      25·   ·Horizon consisted of 15 decks, you wouldn't have

                                                         Page 63                                                        Page 65
    ·1·   ·they?                                                   ·1·   ·enough security officers assigned to each deck,
    ·2·   · · · · · · · · MS. CABEZA:· Objection form.             ·2·   ·would you?
    ·3·   · · · A· · No, they would not.                           ·3·   · · · · · · · · MS. CABEZA:· Objection form.
    ·4·   ·BY MR. GERSON:                                          ·4·   · · · A· · No, that's why we have roving patrols.
    ·5·   · · · Q· · And the reason why they couldn't all work     ·5·   ·BY MR. GERSON:
    ·6·   ·the same shift is because if you only have 20           ·6·   · · · Q· · What do you mean by that?
    ·7·   ·security officers, all 20 couldn't work at the same     ·7·   · · · A· · Officers that would go from deck to deck
    ·8·   ·time because of just the number of hours of the day     ·8·   ·and hit hot spots per se.
    ·9·   ·and other labor laws that were in place, correct?       ·9·   · · · Q· · What is a hot spot?
    10·   · · · A· · Correct.                                      10·   · · · A· · Say a bar where there is heavy drinking or
    11·   · · · · · · · · MS. CABEZA:· Objection form.             11·   ·the pool area where everybody is having fun and you
    12·   ·BY MR. GERSON:                                          12·   ·have security in those places.
    13·   · · · Q· · So if you had 20 security officers on a       13·   · · · Q· · Okay.· But my question was, that you would
    14·   ·vessel, two of the security officers would hold         14·   ·agree just based on the numbers, if you have 15
    15·   ·title, such as the assistant chief security officer,    15·   ·decks on a Carnival cruise ship and you only have
    16·   ·correct?                                                16·   ·nine security officers available, aside from the
    17·   · · · A· · Correct.                                      17·   ·assistant chief security officer, even if we were to
    18·   · · · · · · · · MS. CABEZA:· Objection form.             18·   ·call it ten, you wouldn't have a -- you wouldn't
    19·   ·BY MR. GERSON:                                          19·   ·have one security officer per deck that could patrol
    20·   · · · Q· · And the assistant chief security officer      20·   ·or have a dedicated security officer for each deck,
    21·   ·would work one potential 12-hour shift and then the     21·   ·did you?
    22·   ·other assistant chief security officer would work a     22·   · · · · · · · · MS. CABEZA:· Objection form.
    23·   ·second 12-hour shift?                                   23·   · · · A· · Like I told you, more security is better,
    24·   · · · · · · · · MS. CABEZA:· Objection form.             24·   ·but you could have 100 security people, 100 law
    25·   · · · A· · Yes.                                          25·   ·enforcement officers, and an incident can happen.
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    ·1·   ·BY MR. GERSON:                                          ·1·   ·timeframe?· Ten years?
    ·2·   · · · Q· · Understood.· But --                           ·2·   · · · Q· · Say ten years?
    ·3·   · · · A· · In this case I don't even know where this     ·3·   · · · A· · One hundred let's say?· I would be
    ·4·   ·incident happened, if it was behind closed doors or     ·4·   ·guessing at the number.
    ·5·   ·in a public area or whatever.· I just don't know        ·5·   · · · Q· · Could it be more than hundreds?
    ·6·   ·this case.                                              ·6·   · · · A· · It could be less.
    ·7·   · · · Q· · Okay.· If you had -- how many more            ·7·   · · · Q· · Okay.· And of the 100 or so that you were
    ·8·   ·security officers were you requesting generally         ·8·   ·aware of generally that you testified that you -- I
    ·9·   ·knowing that the average deployment schedule for        ·9·   ·understand that you can't give me an exact number,
    10·   ·security officers was approximately 20?                 10·   ·but let's --
    11·   · · · A· · I can't remember the numbers that I           11·   · · · A· · I am not saying 100.
    12·   ·requested back then.· Probably a half a dozen more I    12·   · · · Q· · Okay.· Let's say you were at least
    13·   ·would assume.· More is the better.· You ask for more    13·   ·aware of -- you are aware of at least 100 reported
    14·   ·and if you meet halfway, you are happy.                 14·   ·rapes or sexual assaults that occurred on Carnival
    15·   · · · Q· · So if you had half a dozen more security      15·   ·cruise ships during the time that you were the Vice
    16·   ·officers, that would be roughly three additional        16·   ·President of Security for Carnival, correct?
    17·   ·security officers per shift?                            17·   · · · · · · · · MS. CABEZA:· Objection form.
    18·   · · · · · · · · MS. CABEZA:· Objection form.             18·   · · · A· · I will not commit to that number of 100.
    19·   · · · A· · Again, you could have a hundred more          19·   ·BY MR. GERSON:
    20·   ·security officers and it wouldn't stop a crime.         20·   · · · Q· · Okay.· Do you think 100 is a large number?
    21·   ·BY MR. GERSON:                                          21·   · · · A· · I don't recall.
    22·   · · · Q· · I understand.                                 22·   · · · Q· · Okay.
    23·   · · · A· · Certain crimes.                               23·   · · · A· · It's been awhile, Counselor.
    24·   · · · Q· · Understood.· Not all crimes can be            24·   · · · Q· · Okay.· Okay.· Of the -- let's just say
    25·   ·prevented; however, you do agree generally that more    25·   ·aside from holding you to the number, of the number

                                                         Page 67                                                        Page 69
    ·1·   ·security -- it is better to have too many then too      ·1·   ·of times that you were made aware of a rape or a
    ·2·   ·few, correct?                                           ·2·   ·sexual assault on a Carnival cruise ship, do you
    ·3·   · · · · · · · · MS. CABEZA:· Objection form.             ·3·   ·agree generally for the most part the rapes and the
    ·4·   · · · A· · Sure.                                         ·4·   ·sexual assaults were occurring in -- or being
    ·5·   ·BY MR. GERSON:                                          ·5·   ·reported to have alleged in the staterooms?
    ·6·   · · · Q· · Now you mentioned something about hot         ·6·   · · · · · · · · MS. CABEZA:· Objection form.
    ·7·   ·spots, right?                                           ·7·   · · · A· · The majority.
    ·8·   · · · A· · Yes, I did.                                   ·8·   ·BY MR. GERSON:
    ·9·   · · · Q· · Based on your training and experience         ·9·   · · · Q· · Okay.· And how many different decks -- it
    10·   ·working as the Vice President of Security -- strike     10·   ·is my understanding on, say, the Carnival Horizon,
    11·   ·that.                                                   11·   ·there is one, two, three, four, five, six, seven,
    12·   · · · · · ·How many rape and sexual assault              12·   ·eight, nine, approximately ten decks on the Carnival
    13·   ·investigations would you say you signed off on or       13·   ·Horizon that had staterooms?
    14·   ·were aware of on Carnival cruise ships in the ten       14·   · · · · · · · · MS. CABEZA:· Objection form.
    15·   ·years prior to J.F.'S rape.                             15·   ·BY MR. GERSON:
    16·   · · · · · · · · MS. CABEZA:· Objection form.             16·   · · · Q· · Does that sound accurate?
    17·   · · · A· · No idea.                                      17·   · · · A· · I am assuming.
    18·   ·BY MR. GERSON:                                          18·   · · · Q· · Okay.· Well, I don't want to -- I am not
    19·   · · · Q· · Hundreds?                                     19·   ·trying to trick you or anything.· So let me --
    20·   · · · · · · · · MS. CABEZA:· Objection form.             20·   · · · A· · I know.· I just can't remember.
    21·   · · · A· · Hundreds?· First of all, we are talking       21·   · · · Q· · Let me just show you the deck plans for
    22·   ·about allegations, correct?                             22·   ·the Carnival Horizon.
    23·   ·BY MR. GERSON:                                          23·   · · · · · ·Do you see what is on your screen?
    24·   · · · Q· · Yes.                                          24·   · · · A· · Yep.
    25·   · · · A· · All right.· And how many -- what is the       25·   · · · Q· · Okay.· So taking a look at the Carnival
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    ·1·   ·Horizon we have got a total of 15 decks, correct?       ·1·   · · · · · · · · MS. CABEZA:· Objection form.
    ·2·   · · · A· · Yes.                                          ·2·   · · · A· · Yeah, they adjust depending on the
    ·3·   · · · Q· · Okay.· And you recognize -- you have seen     ·3·   ·activity.
    ·4·   ·these deck plans I imagine during your tenure as the    ·4·   ·BY MR. GERSON:
    ·5·   ·Vice President of Security for Carnival?                ·5·   · · · Q· · Well, there is actually --
    ·6·   · · · A· · Yes.                                          ·6·   · · · A· · That is not necessarily true that you
    ·7·   · · · Q· · And deck one has staterooms, correct?         ·7·   ·would have six security officers there all night
    ·8·   · · · A· · Yes.                                          ·8·   ·long.
    ·9·   · · · Q· · Just do me a favor and count up the number    ·9·   · · · Q· · Well, I didn't say six security officers.
    10·   ·of decks that have staterooms on the Horizon.           10·   · · · A· · I am throwing that number out.
    11·   · · · A· · Let's see.· One, two, three, four, eight,     11·   · · · Q· · Okay.· But there is a deployment schedule
    12·   ·12.                                                     12·   ·for security officers --
    13·   · · · Q· · Twelve?                                       13·   · · · A· · Yes, sir.
    14·   · · · A· · By the looks of it, yeah.                     14·   · · · Q· · -- that would be provided to the members
    15·   · · · Q· · And then you mentioned you understood as      15·   ·of the security team on a Carnival ship, such as the
    16·   ·the Vice President of Security for Carnival that        16·   ·Horizon, that would tell them where they are
    17·   ·most of the rapes and sexual assaults that had been     17·   ·supposed to be assigned to, such as the nightclub or
    18·   ·occurring or reported had occurred in staterooms by     18·   ·some other deck, correct?
    19·   ·either passengers or even crew members, correct?        19·   · · · A· · Correct.
    20·   · · · A· · I would say so.                               20·   · · · · · · · · MS. CABEZA:· Objection form.
    21·   · · · Q· · Okay.· And then rape and sexual assault       21·   ·BY MR. GERSON:
    22·   ·isn't the only type of a crime that was occurring on    22·   · · · Q· · And why wasn't more -- if Carnival
    23·   ·Carnival cruise ships, was it?                          23·   ·understood or if you knew that a majority of the
    24·   · · · · · · · · MS. CABEZA:· Objection form.             24·   ·rapes and sexual assaults that were being reported
    25·   · · · A· · No.                                           25·   ·on Carnival cruise ships occurred in the staterooms,

                                                         Page 71                                                        Page 73
    ·1·   ·BY MR. GERSON:                                          ·1·   ·why doesn't -- why didn't Carnival do anything to
    ·2·   · · · Q· · Okay.· There have also been -- Carnival       ·2·   ·increase security presence in the stateroom
    ·3·   ·has an open drink policy or a free drink package,       ·3·   ·corridors during the evening hours when passengers
    ·4·   ·correct?                                                ·4·   ·may be returning to their cabins or even minors
    ·5·   · · · · · · · · MS. CABEZA:· Objection form.             ·5·   ·might be returning to their cabins if Carnival knows
    ·6·   · · · A· · Free drinks?                                  ·6·   ·that is an area where the -- most likely area where
    ·7·   ·BY MR. GERSON:                                          ·7·   ·rape and sexual assault is likely to occur?
    ·8·   · · · Q· · There is like a --                            ·8·   · · · · · · · · MS. CABEZA:· Objection form.
    ·9·   · · · A· · There is a drink package.                     ·9·   · · · A· · Like I mentioned, they had roving patrols.
    10·   · · · Q· · A drink package so to speak?                  10·   ·And I guess you can boil it down to the training of
    11·   · · · A· · Yeah, they have a drink package.              11·   ·other crew members.· See something, say something.
    12·   · · · Q· · Okay.· And then so, Carnival also has         12·   ·They are mandated to contact security if they see
    13·   ·nightclubs on its ships, correct?                       13·   ·anything out of the norm.
    14·   · · · A· · Correct.                                      14·   ·BY MR. GERSON:
    15·   · · · Q· · And then isn't it true that security          15·   · · · Q· · Well --
    16·   ·officers would have security posts in the nightclubs    16·   · · · A· · Although you don't have a security person
    17·   ·while the nightclubs were operating?                    17·   ·in that hallway, you could have a housekeeping
    18·   · · · · · · · · MS. CABEZA:· Objection form.             18·   ·person, a linen person, a mail boy, or whatever.
    19·   · · · A· · Yes.                                          19·   · · · Q· · Are you telling me that because -- or
    20·   ·BY MR. GERSON:                                          20·   ·Carnival's position was that in light of the fact
    21·   · · · Q· · And the Carnival nightclubs could have up     21·   ·that it didn't have enough security officers to
    22·   ·to three to four security officers just assigned to     22·   ·staff and man the passenger corridors in the evening
    23·   ·the nightclub during the evening hours into the late    23·   ·hours or early morning hours, that other members of
    24·   ·morning hours, depending on if the nightclub is         24·   ·Carnival's -- other Carnival employees, such as the
    25·   ·operating, correct?                                     25·   ·housekeepers and the bellmen, were capable of
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                                                         Page 74                                                        Page 76
    ·1·   ·providing security?                                     ·1·   ·them, correct.
    ·2·   · · · · · · · · MS. CABEZA:· Objection form.             ·2·   ·BY MR. GERSON:
    ·3·   · · · A· · I wouldn't say that is the reason why they    ·3·   · · · Q· · Okay.· And did you ever review the
    ·4·   ·were trained to do that.· Here again, Carnival was      ·4·   ·security schedules?
    ·5·   ·proactive, always wanted to do the right thing, so      ·5·   · · · A· · Yes.
    ·6·   ·whether it's drug usage, see something, something       ·6·   · · · Q· · Did you ever make any recommendations to
    ·7·   ·terrorists, see something say something; normal crew    ·7·   ·change the security schedules in order to, say,
    ·8·   ·members are trained to assist in any safety and         ·8·   ·provide more patrols in the passenger corridor areas
    ·9·   ·security measure that they could see.· It has           ·9·   ·during the early morning hours when the ship was at
    10·   ·nothing to do with the lack of security.                10·   ·sea?
    11·   ·BY MR. GERSON:                                          11·   · · · · · · · · MS. CABEZA:· Objection form.
    12·   · · · Q· · Well, Carnival didn't have -- strike that.    12·   · · · A· · I am sure I made suggestions over the
    13·   · · · · · ·The security schedules that were in place,    13·   ·years.· I am sure my staff have made suggestions.
    14·   ·you are familiar with those, correct?                   14·   ·BY MR. GERSON:
    15·   · · · A· · Yes.                                          15·   · · · Q· · And who were the suggestions would have
    16·   · · · Q· · Were you responsible for assigning the        16·   ·been made to?
    17·   ·security schedules?                                     17·   · · · A· · The vessel.
    18·   · · · A· · No.                                           18·   · · · Q· · And do you know whatever happened if you
    19·   · · · Q· · Who developed the security schedules that     19·   ·made a suggestion?
    20·   ·would have been in place on, say, the Carnival          20·   · · · A· · They would do it.
    21·   ·Horizon?                                                21·   · · · Q· · Did you ever make any changes to
    22·   · · · A· · The staff captain and the chef security       22·   ·increase -- or did you make any recommendations to
    23·   ·officer.                                                23·   ·increase the security presence in stateroom areas or
    24·   · · · Q· · The staff captain and the chief security      24·   ·corridor areas where the staterooms are located?
    25·   ·officer?                                                25·   · · · · · · · · MS. CABEZA:· Objection form.

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    ·1·   · · · A· · Yes.· They are assisted by their              ·1·   · · · A· · There's a good chance I have.· I just
    ·2·   ·assistants too.                                         ·2·   ·can't recall.
    ·3·   · · · Q· · And what did you, as director of security,    ·3·   ·BY MR. GERSON:
    ·4·   ·do to evaluate the schedules to determine whether or    ·4·   · · · Q· · Do you know if those changes were ever
    ·5·   ·not there were security officers that were available    ·5·   ·implemented?
    ·6·   ·were being utilized in the most reasonable way to       ·6·   · · · · · · · · MS. CABEZA:· Objection form.
    ·7·   ·try to reduce or prevent rape and sexual assault?       ·7·   · · · A· · You are dating me, Counselor.· I am sure
    ·8·   · · · · · · · · MS. CABEZA:· Objection form.             ·8·   ·they were if I told them to do it.· They were very
    ·9·   · · · A· · Well, here again, you are relying on your     ·9·   ·respectful to my wishes.
    10·   ·staff captain who is the true ship security officer     10·   ·BY MR. GERSON:
    11·   ·under the IMO on his ability and the chief security     11·   · · · Q· · If you had been making requests to
    12·   ·officers ability and periodically investigators from    12·   ·increase the number of security officers on Carnival
    13·   ·my office would go on a working cruise, whether they    13·   ·ships while you were the Vice President of Security,
    14·   ·are investigating something or doing an audit, and      14·   ·do you think it would be -- it wouldn't be
    15·   ·they would assess placement of security and come up     15·   ·unreasonable to have more security officers; would
    16·   ·with recommendations.                                   16·   ·it have been?
    17·   ·BY MR. GERSON:                                          17·   · · · · · · · · MS. CABEZA:· Objection form.
    18·   · · · Q· · Okay.· So you as the director of security     18·   · · · A· · The more the better no matter what.· If I
    19·   ·for Carnival, Carnival, you as vice president,          19·   ·had a hundred, I would want 120.
    20·   ·relied on the staff captain and the chief security      20·   · · · Q· · Does Carnival need 120 security
    21·   ·officer to determine what the security deployment       21·   ·officers --
    22·   ·schedule was for each vessel and the assignments for    22·   · · · A· · No.
    23·   ·the security officers?                                  23·   · · · Q· · -- in order to safely --
    24·   · · · · · · · · MS. CABEZA:· Objection form.             24·   · · · A· · No.
    25·   · · · A· · Basically delegating the authority to         25·   · · · Q· · -- provide security on ships --
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    ·1·   · · · A· · No.                                           ·1·   ·BY MR. GERSON:
    ·2·   · · · Q· · -- to prevent rapes or sexual assaults?       ·2·   · · · Q· · Why is that good?
    ·3·   · · · A· · Not at all, no.                               ·3·   · · · A· · Preventable.
    ·4·   · · · · · · · · MS. CABEZA:· Objection to form.          ·4·   · · · Q· · Well, you did understand that when CVSSA
    ·5·   ·BY MR. GERSON:                                          ·5·   ·was enacted -- was the reason why CVSSA was enacted
    ·6·   · · · Q· · Okay.· So we already know -- you have         ·6·   ·was because of a problem that was acknowledged by
    ·7·   ·already told me that you think somewhere in the         ·7·   ·Congress with respect to the need to improve the
    ·8·   ·neighborhood of half a dozen security officers would    ·8·   ·security measures on cruise ships, in particular to
    ·9·   ·have been -- it was justified and you had actually      ·9·   ·prevent rape and sexual assault on female passengers
    10·   ·requested from executive members or management that     10·   ·on its vessels?
    11·   ·you reported to, including Mr. Lars Ljoen, while you    11·   · · · · · · · · MS. CABEZA:· Objection form.
    12·   ·were the Vice President of Security, correct?           12·   · · · A· · Well, that's why it was implemented, yes.
    13·   · · · · · · · · MS. CABEZA:· Objection form.             13·   ·BY MR. GERSON:
    14·   · · · A· · Where did the half dozen come up again?       14·   · · · Q· · Okay.· And it wasn't just Carnival --
    15·   ·BY MR. GERSON:                                          15·   · · · A· · Other crimes and overboard reporting.
    16·   · · · Q· · You came up with the half a dozen.            16·   · · · Q· · Right.· And it wasn't just Carnival, it
    17·   · · · A· · Well, how did I come up with that?            17·   ·was the cruise line in general, correct?
    18·   · · · Q· · I don't know.                                 18·   · · · A· · That's correct.
    19·   · · · A· · Well, I don't want to commit to numbers       19·   · · · Q· · And that is something that you knew along
    20·   ·without understanding this question.                    20·   ·with other members of the executive security team or
    21·   · · · Q· · Would it have been unreasonable to have       21·   ·executives of Carnival back in 2010?
    22·   ·two security officers on each deck and one --           22·   · · · · · · · · SKWRAO:· Objection form.
    23·   ·including one security officer assigned to the          23·   · · · A· · We were very proactive in my tenure at
    24·   ·passenger corridor areas in the evening between,        24·   ·Carnival.
    25·   ·say, 12:00 and 5:00 a.m.?                               25

                                                         Page 79                                                        Page 81
    ·1·   · · · · · · · · MS. CABEZA:· Objection form.             ·1·   ·BY MR. GERSON:
    ·2·   · · · A· · Depends on the vessel.                        ·2·   · · · Q· · But my question is, in that knowing that
    ·3·   ·BY MR. GERSON:                                          ·3·   ·and knowing from the legislation that was passed by
    ·4·   · · · Q· · Well --                                       ·4·   ·Congress with respect to the Cruise Ship Vessel
    ·5·   · · · A· · And the interior.· Actually the Horizon is    ·5·   ·Safety and Security Act, Carnival never did anything
    ·6·   ·one of the newer vessels; I think they have a lot of    ·6·   ·to increase its security presence in the passenger
    ·7·   ·cameras on the Horizon.                                 ·7·   ·corridor areas, even though it wasn't something that
    ·8·   · · · Q· · Well, there are no cameras in the             ·8·   ·was legally required by CVSSA?
    ·9·   ·passenger corridor areas, right?                        ·9·   · · · · · · · · MS. CABEZA:· Objection form.
    10·   · · · A· · Not on the Horizon?                           10·   · · · A· · We had adequate security.
    11·   · · · · · · · · MS. CABEZA:· Objection form.             11·   ·BY MR. GERSON:
    12·   · · · A· · (Continued)· That I don't remember.           12·   · · · Q· · And what is adequate security?
    13·   ·BY MR. GERSON:                                          13·   · · · A· · Enough to patrol the vessel.
    14·   · · · Q· · Would it have been unreasonable to have a     14·   · · · Q· · And what is enough?
    15·   ·security officer posted in the passenger corridor       15·   · · · A· · Again, you are talking to a security
    16·   ·areas between 12:00 and 5:00 a.m. if Carnival knew      16·   ·person.· You are talking to former law enforcement.
    17·   ·that there was a -- there had been a pattern of         17·   · · · Q· · I understand that.
    18·   ·rapes and sexual assaults that were occurring on its    18·   · · · A· · I always want more.· So if I commit to a
    19·   ·ships over a number of years?                           19·   ·number of 25, I would be happy if they gave me 35.
    20·   · · · · · · · · MS. CABEZA:· Objection form.             20·   · · · Q· · Okay.· Well --
    21·   · · · A· · If there was a pattern and it was a high      21·   · · · A· · I really can't give you a hard, full
    22·   ·profile vessel, the schedule would have been shifted    22·   ·answer on that question.
    23·   ·to have more security in the hallways, more roving      23·   · · · Q· · Okay.· But you agree that 20 security
    24·   ·patrols, more eyes and ears.                            24·   ·officers, approximately nine per shift, on a
    25                                                             25·   ·passenger vessel with 4,000 or so passengers isn't
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    ·1·   ·enough?                                                 ·1·   ·BY MR. GERSON:
    ·2·   · · · · · · · · MS. CABEZA:· Objection form.             ·2·   · · · Q· · Roughly?
    ·3·   · · · A· · I didn't say that.                            ·3·   · · · · · · · · MS. CABEZA:· Objection.
    ·4·   ·BY MR. GERSON:                                          ·4·   · · · A· · I am not going to guess.
    ·5·   · · · Q· · Is it your testimony that it is enough?       ·5·   ·BY MR. GERSON:
    ·6·   · · · · · · · · MS. CABEZA:· Objection form.             ·6·   · · · Q· · So you were essentially limited with the
    ·7·   · · · A· · There is never -- there is never enough.      ·7·   ·financial resources that you had available in order
    ·8·   ·BY MR. GERSON:                                          ·8·   ·to make the security changes that were needed in
    ·9·   · · · Q· · You agree that there was -- Carnival could    ·9·   ·order to increase the security officers on Carnival
    10·   ·be doing more in providing security on its vessels,     10·   ·ships?
    11·   ·such as having more security officers?· And I am not    11·   · · · · · · · · MS. CABEZA:· Objection form.
    12·   ·suggesting 100, but it could be doing more than --      12·   · · · A· · You are limited.
    13·   ·it could be providing more than it was providing?       13·   ·BY MR. GERSON:
    14·   · · · · · · · · MS. CABEZA:· Objection form.             14·   · · · Q· · How much were you limited by?
    15·   · · · A· · And, again, we started this auxillary         15·   · · · · · · · · MS. CABEZA:· Objection form.
    16·   ·team, eyes and ears.· And eventually, like I said,      16·   · · · A· · I can't recall, Counselor.
    17·   ·from what I am hearing they are now putting more        17·   ·BY MR. GERSON:
    18·   ·security on the vessels.                                18·   · · · Q· · Did you ever have anyone do some sort of
    19·   ·BY MR. GERSON:                                          19·   ·financial analysis of what it would cost to have
    20·   · · · Q· · Why is it now they are putting more           20·   ·half a dozen security officers on -- deployed on 26
    21·   ·security officers on the vessels, but they weren't      21·   ·Carnival ships?
    22·   ·putting more security officers on the vessel back in    22·   · · · · · · · · MS. CABEZA:· Objection form.
    23·   ·2019 and in the four or five years before then?         23·   · · · A· · That's all done by finance.
    24·   · · · · · · · · MS. CABEZA:· Objection form.             24·   ·BY MR. GERSON:
    25·   · · · A· · Why?· Hmm.· Maybe it is the bureaucracy of    25·   · · · Q· · Over the years you have investigated a

                                                         Page 83                                                        Page 85
    ·1·   ·gettings things done in a corporate world.· I don't     ·1·   ·number of reported rapes and sexual assaults on
    ·2·   ·know.                                                   ·2·   ·Carnival vessels.· We already established that,
    ·3·   ·BY MR. GERSON:                                          ·3·   ·right?
    ·4·   · · · Q· · You mentioned something about budgets?        ·4·   · · · · · · · · MS. CABEZA:· Objection form.
    ·5·   · · · A· · Everyone has a budget.                        ·5·   · · · A· · Allegations, yes.
    ·6·   · · · Q· · What was the security budget?                 ·6·   ·BY MR. GERSON:
    ·7·   · · · · · · · · MS. CABEZA:· Objection form.             ·7·   · · · Q· · Okay.· And based on your training and
    ·8·   · · · A· · I cannot recall.                              ·8·   ·experience investigating rapes and sexual assaults
    ·9·   ·BY MR. GERSON:                                          ·9·   ·on cruise ships, is it uncommon that rapes and
    10·   · · · Q· · The budget was a finite number that you       10·   ·sexual assaults aren't reported on the vessel when
    11·   ·had available in order to deploy fleet wide in          11·   ·the incident occurs?
    12·   ·determining various security needs and services,        12·   · · · · · · · · MS. CABEZA:· Objection form.
    13·   ·including security officers; is that correct?           13·   · · · A· · It has happened.· Late reporting, yes, it
    14·   · · · A· · Correct.                                      14·   ·has happened.
    15·   · · · · · · · · MS. CABEZA:· Objection form.             15·   ·BY MR. GERSON:
    16·   ·BY MR. GERSON:                                          16·   · · · Q· · Okay.· And what is late reporting?
    17·   · · · Q· · And where did the budget come from?· Who      17·   · · · A· · They get off the vessel and then they
    18·   ·determined what the budget was?                         18·   ·report to a local law enforcement or maybe they call
    19·   · · · A· · Our finance people.                           19·   ·the FBI, maybe they call the Coast Guard.· Maybe
    20·   · · · Q· · Okay.· And so if you were given a budget,     20·   ·they called our office and reported it after the
    21·   ·can you give me a hypothetical of what your security    21·   ·fact.
    22·   ·budget was for fiscal year of, say, 2018?               22·   · · · Q· · So it's not -- so by late reporting it is
    23·   · · · · · · · · MS. CABEZA:· Objection form.             23·   ·not uncommon for there to be late or delayed
    24·   · · · A· · I don't even want to guess.                   24·   ·reporting of a rape or sexual assault by a passenger
    25                                                             25·   ·on a Carnival ship based on your experience?
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    ·1·   · · · · · · · · MS. CABEZA:· Objection form.             ·1·   ·address rape, sexual assault, and other crime
    ·2·   · · · A· · It is not common but it happens.              ·2·   ·prevention on its cruise ships?
    ·3·   ·BY MR. GERSON:                                          ·3·   · · · · · · · · MS. CABEZA:· Objection form.
    ·4·   · · · Q· · What is your understanding as the Vice        ·4·   · · · · · · · · MR. GERSON:· Did the witness
    ·5·   ·President of Security of why that happens sometimes?    ·5·   · · · freeze?
    ·6·   · · · A· · Why is there late reporting?                  ·6·   · · · · · · · · THE VIDEOGRAPHER:· I think so.
    ·7·   · · · Q· · Yes.                                          ·7·   · · · I was wondering but I think so.
    ·8·   · · · A· · It could be anything.· The trauma that the    ·8·   · · · · · · · · He is definitely frozen,
    ·9·   ·person went through, male or female.· It could be       ·9·   · · · Counsel.· Do you want me to get us off?
    10·   ·anything.                                               10·   · · · · · · · · MR. GERSON:· Sure.
    11·   · · · Q· · Trauma?                                       11·   · · · · · · · · THE VIDEOGRAPHER:· Off the
    12·   · · · A· · It could be.· Traumatized from the            12·   · · · record 11:52 a.m.
    13·   ·allegation.· Sometimes people get veneral diseases      13·   · · · · · · · · (Whereupon, a short recess was
    14·   ·and report.· Sometimes people get pregnant and          14·   · · · taken.)
    15·   ·report.                                                 15·   · · · · · · · · THE VIDEOGRAPHER:· On the record
    16·   · · · Q· · Sometimes passengers can be scared to         16·   · · · 12:01 p.m.
    17·   ·report?                                                 17·   · · · · · CONTINUATION OF DIRECT EXAMINATION
    18·   · · · A· · That is what I mean by --                     18·   ·BY MR. GERSON:
    19·   · · · · · · · · MS. CABEZA:· Objection form.             19·   · · · Q· · Okay.· Mr. Froio, what I was asking you
    20·   ·BY MR. GERSON:                                          20·   ·was during your tenure working as the Vice President
    21·   · · · Q· · You understand as the Vice President of       21·   ·of Security Services for Carnival, did you ever hire
    22·   ·Security for Carnival that sometimes passengers         22·   ·or to your knowledge did Carnival ever hire a
    23·   ·don't -- including minors, may delay reporting a        23·   ·third-party company to provide some sort of risk
    24·   ·rape or sexual assault based on trauma or               24·   ·assessment of the security needs and security
    25·   ·embarrassment perhaps?                                  25·   ·vulnerabilities, if any, on Carnival cruise ships?

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    ·1·   · · · A· · That is possible.                             ·1·   · · · · · · · · MS. CABEZA:· Objection form.
    ·2·   · · · · · · · · MS. CABEZA:· Objection form.             ·2·   · · · A· · That is where we got cut off.· I was
    ·3·   ·BY MR. GERSON:                                          ·3·   ·answering you, too.
    ·4·   · · · Q· · Not uncommon.                                 ·4·   · · · · · ·I hired RAINN, rape crisis out of D.C., to
    ·5·   · · · A· · It is not that common but it has happened.    ·5·   ·do an audit of our sexual assault practices.· As far
    ·6·   · · · Q· · Okay.· And as a member of the security        ·6·   ·as the security assessment we have internal auditors
    ·7·   ·team, does that -- or as a member -- as the Vice        ·7·   ·in corporate that would come out and do a security
    ·8·   ·President of Security the fact that someone delays      ·8·   ·assessment.· So as far as a third party, other than
    ·9·   ·their reporting of rape or sexual assault, does that    ·9·   ·RAINN, no.
    10·   ·influence you as the Vice President of Security in      10·   · · · Q· · What is RAINN?
    11·   ·terms of whether or not that person is being            11·   · · · A· · It's rape crisis out of Washington.· It is
    12·   ·truthful?                                               12·   ·the number one rape crisis organization in the
    13·   · · · · · · · · MS. CABEZA:· Objection form.             13·   ·United States.
    14·   · · · A· · Not at all.                                   14·   · · · Q· · Is it your testimony that Carnival was a
    15·   · · · · · · · · MS. CABEZA:· Can we take a               15·   ·member of RAINN back in 2019?
    16·   · · · five-minute break whenever you hit a               16·   · · · A· · Yes.
    17·   · · · stopping point?                                    17·   · · · · · · · · MS. CABEZA:· Objection form.
    18·   · · · · · · · · MR. GERSON:· Sure.                       18·   ·BY MR. GERSON:
    19·   ·BY MR. GERSON:                                          19·   · · · Q· · And what is -- the fact that you were a
    20·   · · · Q· · Did Carnival ever -- I think you told me      20·   ·member of RAINN, what was your understanding of what
    21·   ·Carnival never hired an independent company to          21·   ·RAINN was and why did Carnival become affiliated
    22·   ·evaluate.· Do you know what a risk assessment is?       22·   ·with it?
    23·   · · · A· · Yes.                                          23·   · · · · · · · · MS. CABEZA:· Objection form.
    24·   · · · Q· · To your knowledge Carnival never hired a      24·   · · · A· · RAINN certifies you that your practices
    25·   ·third-party to conduct a risk assessment in order to    25·   ·for handling sexual assault are adequate.· And they
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                                                         Page 90                                                        Page 92
    ·1·   ·collaborate with security, the care team, loss          ·1·   ·on -- your understanding is now Carnival is
    ·2·   ·prevention, medical team to make sure everyone is in    ·2·   ·increasing its security officers on its ships but it
    ·3·   ·tune on how to handle an investigative sexual           ·3·   ·hadn't followed through with multiple requests from
    ·4·   ·assault.· We get certified -- RAINN I think back in     ·4·   ·you and other members of the security team in the
    ·5·   ·maybe 2016 for the first time and then 2018 again.      ·5·   ·years prior?
    ·6·   ·It's like every two years we will get a                 ·6·   · · · · · · · · MS. CABEZA:· Objection form.
    ·7·   ·certification.· And they would go ship to ship and      ·7·   · · · A· · We implemented different procedures.
    ·8·   ·they would also come into the main office and go        ·8·   ·BY MR. GERSON:
    ·9·   ·through department to department to see how we          ·9·   · · · Q· · Okay.· Well --
    10·   ·handled things.                                         10·   · · · A· · See something, say something.· The
    11·   · · · · · ·So it is an audit specific to sexual          11·   ·auxillary backup team.
    12·   ·assault.                                                12·   · · · Q· · Well, in order --
    13·   ·BY MR. GERSON:                                          13·   · · · A· · Low-profile ships, reduce the security
    14·   · · · Q· · Well, the audit that you are referring to     14·   ·there and put it on a high-profile ship.· So I can't
    15·   ·by RAINN, did RAINN evaluate the number of security     15·   ·say that nothing was done, not was it totally
    16·   ·officers that were deployed on Carnival cruise          16·   ·ignored.
    17·   ·ships?                                                  17·   · · · Q· · Did RAINN make a recommendation that you
    18·   · · · A· · It could have.                                18·   ·increase the number of security officers?
    19·   · · · Q· · As you sit here today, do you know if they    19·   · · · A· · No, actually they said we did a fabulous
    20·   ·did?                                                    20·   ·job.
    21·   · · · · · · · · MS. CABEZA:· Objection form.             21·   · · · Q· · Excuse me?
    22·   · · · A· · I cannot recall, Counselor.                   22·   · · · A· · Actually they said we did a great job.
    23·   ·BY MR. GERSON:                                          23·   · · · Q· · What information were you providing them?
    24·   · · · Q· · Okay.· Well, you already told me that you     24·   · · · A· · We conduct investigations, patrols, rape
    25·   ·personally had requested more security officers on      25·   ·kits in the infirmaries, care after an allegation.

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    ·1·   ·Carnival cruise ships and that your request             ·1·   · · · Q· · Were you providing them statistical data
    ·2·   ·essentially had been ignored?                           ·2·   ·with the number of rapes and sexual assaults and
    ·3·   · · · · · · · · MS. CABEZA:· Objection form.             ·3·   ·other violent crimes that had been occurring on
    ·4·   · · · A· · I guess you could call it ignored at the      ·4·   ·Carnival vessels?
    ·5·   ·time, but they did come through with other measures.    ·5·   · · · · · · · · MS. CABEZA:· Objection form.
    ·6·   ·BY MR. GERSON:                                          ·6·   · · · A· · Sexual cases?
    ·7·   · · · Q· · Well, not increasing the number of            ·7·   ·BY MR. GERSON:
    ·8·   ·security officers?                                      ·8·   · · · Q· · Sexual cases?
    ·9·   · · · · · · · · MS. CABEZA:· Objection form.             ·9·   · · · A· · And that is on a public Website.
    10·   · · · A· · That's not true.· I did say that if we had    10·   · · · Q· · Okay.· Well, the public Website that you
    11·   ·a high profile ship we added more security to that      11·   ·are referring to, you referring to statistical data
    12·   ·vessel.· Get them off of vacation and bring them on     12·   ·required to be -- that's on the Department of
    13·   ·board.                                                  13·   ·Homeland Security?
    14·   · · · · · ·Sometimes if you have a ship, let's say       14·   · · · · · · · · MS. CABEZA:· Objection form.
    15·   ·that is quiet, hypothetically Alaska, would they        15·   · · · A· · Is it Homeland Security now?· I thought it
    16·   ·need a lot of security compared to a ship sailing       16·   ·was under -- it was under the Coast Guard at one
    17·   ·out of Miami or Long Beach, not necessarily.· Here      17·   ·time and then MARAD.· It could be Homeland Security.
    18·   ·again, itinerary driven we were pulling maybe one or    18·   ·BY MR. GERSON:
    19·   ·two security from quiet ships to the more               19·   · · · Q· · Well, whatever -- wherever it is, is that
    20·   ·high-profile ship.                                      20·   ·the statistical data that you are referring to?
    21·   ·BY MR. GERSON:                                          21·   · · · A· · One of them.
    22·   · · · Q· · Well, we have already --                      22·   · · · Q· · Okay.· And that statistical date, that is
    23·   · · · A· · I wouldn't say ignored.· But timely, I        23·   ·information that only applies to Carnival vessels
    24·   ·think it's a play on words, Counselor.                  24·   ·that touch U.S. ports, correct?
    25·   · · · Q· · Well, you told me that what's been going      25·   · · · A· · Correct.
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    ·1·   · · · Q· · Other than -- when you say that there were    ·1·   ·Carnival ships in, say, the seven years prior to
    ·2·   ·audits that were conducted, what were the names of      ·2·   ·2019?
    ·3·   ·the audits that were being conducted that would         ·3·   · · · A· · Just RAINN for sexual allegations.· That's
    ·4·   ·evaluate the security needs of Carnival vessels?        ·4·   ·the only third-party that I recall ever hiring for a
    ·5·   · · · · · · · · MS. CABEZA:· Objection form.             ·5·   ·specific offense.· That did not include an
    ·6·   · · · A· · The name of the audit, I have no idea.        ·6·   ·assessment of them telling me you need ten more
    ·7·   ·BY MR. GERSON:                                          ·7·   ·security people.
    ·8·   · · · Q· · Is it the HESS audit?                         ·8·   · · · Q· · Okay.
    ·9·   · · · A· · There you go.· HESS.                          ·9·   · · · A· · There was --
    10·   · · · Q· · Are you familiar with the HESS audit?         10·   · · · Q· · Did Carnival ever hire a company to come
    11·   · · · · · ·(Simultaneously speaking.)                    11·   ·in and say you only have 20 security officers on a
    12·   · · · A· · -- safety and security.                       12·   ·particular vessel, and in order to provide adequate
    13·   · · · Q· · And those are done on an annual basis or      13·   ·security on all of your decks during the evening
    14·   ·biannual basis?                                         14·   ·hours or morning hours -- did Carnival ever hire a
    15·   · · · A· · I will say at most annual, if not longer.     15·   ·company to provide them with some analysis of what
    16·   · · · Q· · Okay.· And in those audits have you seen      16·   ·their findings may or what their recommendations may
    17·   ·recommendations to increase the number of security      17·   ·be?
    18·   ·officers just as you were requesting personally that    18·   · · · · · · · · MS. CABEZA:· Objection form.
    19·   ·you testified to earlier?                               19·   · · · A· · Nothing that came across my desk.· Again,
    20·   · · · · · · · · MS. CABEZA:· Objection form.             20·   ·it was internal audit from corporate.
    21·   · · · A· · I don't recall if it had numbers of           21·   ·BY MR. GERSON:
    22·   ·security.· Most -- a lot of the times the audits        22·   · · · Q· · So Carnival just -- so I guess ultimately
    23·   ·would find a door unlocked, a camera not working,       23·   ·what I am trying to understand from you, Mr. Froio,
    24·   ·things of that nature, and maybe you have time          24·   ·is, you know, how was Carnival evaluating the
    25·   ·period to correct it.                                   25·   ·effectiveness of its security measures that were in

                                                         Page 95                                                        Page 97
    ·1·   ·BY MR. GERSON:                                          ·1·   ·place over, you know, in the five years prior to
    ·2·   · · · Q· · Who from -- who from RAINN -- since you       ·2·   ·2019 in order to determine or to evaluate the
    ·3·   ·talked about it, who from RAINN -- or how often --      ·3·   ·security needs and security vulnerabilities with
    ·4·   ·strike that.                                            ·4·   ·respect to staffing on its ships?
    ·5·   · · · · · ·What is your understanding of the risk        ·5·   · · · · · · · · MS. CABEZA:· Objection form.
    ·6·   ·assessment that RAINN conducted for Carnival that       ·6·   · · · A· · Corporate internal audit in my office.
    ·7·   ·you told me -- that you just testified to?              ·7·   ·BY MR. GERSON:
    ·8·   · · · · · · · · MS. CABEZA:· Objection form.             ·8·   · · · Q· · Well, you already told me that you had
    ·9·   · · · A· · What is my opinion of it?                     ·9·   ·made requests to increase the security officers?
    10·   ·BY MR. GERSON:                                          10·   · · · A· · I did.
    11·   · · · Q· · No.                                           11·   · · · Q· · And how were you making that assessment?
    12·   · · · A· · What is my what?                              12·   ·What information were you relying on to recommend to
    13·   · · · Q· · You said that you believe that RAINN,         13·   ·your direct reports, including Lars Ljoen, that more
    14·   ·which is a nonprofit organization conducted some        14·   ·security officers were needed?
    15·   ·sort of security assessment or risk assessment of       15·   · · · · · · · · MS. CABEZA:· Objection form.
    16·   ·the security needs of Carnival cruise ships.· Do you    16·   · · · A· · Request from shipboard personnel,
    17·   ·remember telling me that?                               17·   ·observations from my staff, you conclude that we
    18·   · · · A· · No.                                           18·   ·would want more security.
    19·   · · · Q· · That's not accurate?                          19·   ·BY MR. GERSON:
    20·   · · · A· · That is not accurate.                         20·   · · · Q· · Now are you familiar with what post orders
    21·   · · · Q· · Okay.· So then let me ask the question        21·   ·are?
    22·   ·again.                                                  22·   · · · A· · Yes.
    23·   · · · · · ·Did Carnival ever hire a third-party          23·   · · · Q· · What are post orders?
    24·   ·company to provide a risk assessment to determine       24·   · · · A· · Assignments.
    25·   ·the security needs and security vulnerabilities on      25·   · · · Q· · And who developed -- who was responsible
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    ·1·   ·for developing the post orders and assignments for      ·1·   ·by international maritime organization.· All that is
    ·2·   ·security officers on Carnival ships?                    ·2·   ·documented.· They have certificates to prove they
    ·3·   · · · A· · Generally the ship itself or my director,     ·3·   ·have been trained in certain things.· MARAD gives
    ·4·   ·my administrative director, would send out an order     ·4·   ·them -- well, the --
    ·5·   ·for whatever for whatever reason.                       ·5·   · · · · · ·(Simultaneously speaking.)
    ·6·   · · · Q· · So you, as the director of security --        ·6·   ·BY MR. GERSON:
    ·7·   ·Vice President of Security for Carnival relied on       ·7·   · · · Q· · Do any of those organizations require or
    ·8·   ·the staff captain and the chief security officer to     ·8·   ·make any reference to what a sufficient number of
    ·9·   ·make the decision or to determine what the post         ·9·   ·security officers are in order to provide security
    10·   ·orders were for security officers on Carnival ships?    10·   ·on a passenger vessel with, let's say, 4,000
    11·   · · · A· · That's correct.                               11·   ·passengers?
    12·   · · · · · · · · MS. CABEZA:· Objection form.             12·   · · · · · · · · MS. CABEZA:· Objection form.
    13·   ·BY MR. GERSON:                                          13·   · · · A· · Not to my recollection.
    14·   · · · Q· · And so if you have a security officer         14·   ·BY MR. GERSON:
    15·   ·assigned to Deck 5 and its post orders are to patrol    15·   · · · Q· · So just based on whatever the budget is,
    16·   ·all of Deck 5 between the hours of -- or Deck 5, 7,     16·   ·that is how the decision was made in terms of how
    17·   ·and 9 during his shift, those assignments would come    17·   ·many security officers you can have on a ship?
    18·   ·from the ship itself?                                   18·   · · · · · · · · MS. CABEZA:· Objection form.
    19·   · · · · · · · · MS. CABEZA:· Objection form.             19·   · · · A· · You are simplifying it just to the budget?
    20·   · · · A· · Yes.                                          20·   ·BY MR. GERSON:
    21·   ·BY MR. GERSON:                                          21·   · · · Q· · Well, what other -- well, you are the one
    22·   · · · Q· · Do any of your security officers on your      22·   ·who said the budget.· What other considerations --
    23·   ·ships, the staff captain or the assistant chief         23·   · · · A· · The budget is key.· If you are maintaining
    24·   ·security officer, to your knowledge do they attend      24·   ·at a vessel with 20 security people and your
    25·   ·any formal training in the United States by any         25·   ·incidents are minimal compared to what goes on land

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    ·1·   ·security organization, such as As Is or any other       ·1·   ·based, you have adequate security.
    ·2·   ·security company as part of their job requirements?     ·2·   · · · Q· · What is a minimal number of incidents?
    ·3·   · · · · · · · · MS. CABEZA:· Objection form.             ·3·   · · · A· · It depends on what kind of incident it is.
    ·4·   · · · A· · They are trained by the FBI, Homeland         ·4·   ·One sexual assault bothers me.· One homicide bothers
    ·5·   ·Security, local police, D.E.A., Coast Guard, outside    ·5·   ·me.· One arson bothers me.· One serious assault
    ·6·   ·counsel, legal department, loss prevention, air         ·6·   ·would bother me.
    ·7·   ·team, all this training is given every two years.       ·7·   · · · · · ·In this case you all know, as well I know,
    ·8·   ·We bring them in to Miami.                              ·8·   ·people are on vacation, they get in shoving matches,
    ·9·   ·BY MR. GERSON:                                          ·9·   ·things get stolen.· I mean, how do you come up with
    10·   · · · Q· · Why doesn't Carnival require its security     10·   ·a number?· I don't know.
    11·   ·officers to obtain a security license in the state      11·   · · · Q· · Well, how do you come up with a number?
    12·   ·of Florida?                                             12·   ·You have already suggested some numbers.· And all I
    13·   · · · · · · · · MS. CABEZA:· Objection form.             13·   ·am asking you is why didn't you ever suggest that
    14·   · · · A· · Why would it be specific to Florida?          14·   ·Carnival hire a third-party consulting agency, just
    15·   ·BY MR. GERSON:                                          15·   ·like you're operating right now and working on
    16·   · · · Q· · Well, anywhere?                               16·   ·behalf of Norwegian to evaluate the security needs
    17·   · · · A· · Maritime law I am sure doesn't request it.    17·   ·and security vulnerabilities on Carnival ships in
    18·   · · · Q· · So because maritime law doesn't require       18·   ·order to prevent rape and sexual assault prior to
    19·   ·security officers to maintain any security              19·   ·2019?
    20·   ·credentials, training, or certifications, Carnival      20·   · · · · · · · · MS. CABEZA:· Objection form.
    21·   ·just took the position that if it is not required we    21·   · · · A· · Well, if you looked at the resumes of the
    22·   ·are not going to do it?                                 22·   ·people who worked in my office, highly qualified
    23·   · · · · · · · · MS. CABEZA:· Objection form.             23·   ·retired law enforcement people, all kinds of
    24·   · · · A· · They are required to attend and get           24·   ·credentials, you name it, they are as good as a
    25·   ·certifications under the maritime laws established      25·   ·vendor like me now.
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    ·1·   ·BY MR. GERSON:                                          ·1·   ·BY MR. GERSON:
    ·2·   · · · Q· · Why is it that Carnival security officers     ·2·   · · · Q· · Tell me how shipboard activity in the
    ·3·   ·predominantly are from the Philippines?                 ·3·   ·context of crime on cruise ships is different from
    ·4·   · · · A· · Why?                                          ·4·   ·crime in a land-based environment?
    ·5·   · · · · · · · · MS. CABEZA:· Objection form.             ·5·   · · · A· · In my opinion it's less on cruise ships
    ·6·   · · · A· · (Continued )· It is a good area to recruit    ·6·   ·than it is land based.· That's my opinion.
    ·7·   ·from.· When we first took over shipboard security, a    ·7·   · · · Q· · What are you basing that on?
    ·8·   ·lot of the officers were from Subic Bay.· They did a    ·8·   · · · A· · Statistics.
    ·9·   ·good job.· And expanded to India.· We have tried        ·9·   · · · Q· · Have you ever conducted an analysis of the
    10·   ·Americans, military, prior law enforcement.· The        10·   ·number of times there has been a rape or a sexual
    11·   ·Filipinos and the Indians just do a great job.· They    11·   ·assault reported in a hotel in Miami, Florida, as
    12·   ·are very loyal and they work hard.                      12·   ·opposed to a comparable cruise line or cruise ship?
    13·   ·BY MR. GERSON:                                          13·   · · · A· · Actually CLIA did a study and brought in a
    14·   · · · Q· · When you say they are very loyal, are you     14·   ·professional.· CLIA that represents the industry.
    15·   ·suggesting that American security professionals,        15·   ·And they came up with statistics and it showed there
    16·   ·such as a security officer licensed in the state of     16·   ·is less incidents shipside than there are shoreside.
    17·   ·Florida with training and a certification program       17·   · · · Q· · What information are you basing that on?
    18·   ·that is certified by the Florida Department of          18·   · · · A· · A study that CLIA did a few years back.
    19·   ·Agriculture is just -- is inferior to the security      19·   · · · Q· · And you are referencing CLIA which is
    20·   ·credentialing and security -- quality security          20·   ·comprised of members in the cruise line industry,
    21·   ·services that the Filipinos or the Philippines          21·   ·correct?
    22·   ·provides?                                               22·   · · · A· · Correct.· And --
    23·   · · · · · · · · MS. CABEZA:· Objection form.             23·   · · · Q· · By --
    24·   · · · A· · I never said that had.                        24·   · · · A· · Go on.
    25                                                             25·   · · · Q· · By members we are talking about the cruise

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    ·1·   ·BY MR. GERSON:                                          ·1·   ·line operators, correct?
    ·2·   · · · Q· · Are you aware of the fact that in the         ·2·   · · · · · · · · MS. CABEZA:· Objection form.
    ·3·   ·state of Florida that in order to run a third-party     ·3·   · · · A· · The operators?· What do you mean by the
    ·4·   ·security company that you need to actually have a       ·4·   ·operators?· I am talking about the security group
    ·5·   ·security license?                                       ·5·   ·with CLIA.
    ·6·   · · · · · · · · MS. CABEZA:· Objection form.             ·6·   ·BY MR. GERSON:
    ·7·   · · · A· · Under certain circumstances.                  ·7·   · · · Q· · Well, I think -- what I was asking you was
    ·8·   ·BY MR. GERSON:                                          ·8·   ·I asked you whether or not Carnival had ever
    ·9·   · · · Q· · I am sorry?                                   ·9·   ·considered hiring a third-party security company to
    10·   · · · A· · Certain circumstances.                        10·   ·provide security on cruise ships.· And you said that
    11·   · · · Q· · And as part of the licensing requirements,    11·   ·we considered it, but we decided not to go that
    12·   ·are you aware of the fact that not only in order to     12·   ·route because of differences in crime on cruise
    13·   ·obtain a security license, that you need to take a      13·   ·ships -- on land, such as rape and sexual assault,
    14·   ·class and examination in order to obtain a license      14·   ·as opposed to crime, rape, and sexual assault at
    15·   ·to act as a security guard in the state of Florida?     15·   ·sea, correct?
    16·   · · · · · · · · MS. CABEZA:· Objection form.             16·   · · · · · · · · MS. CABEZA:· Objection form.
    17·   · · · A· · I am aware of that.                           17·   · · · A· · That's what I said.
    18·   ·BY MR. GERSON:                                          18·   ·BY MR. GERSON:
    19·   · · · Q· · Has Carnival ever considered hiring a         19·   · · · Q· · You do agree that, you know, on a cruise
    20·   ·third-party security company with licensed security     20·   ·ship, and we have already talked about this, that
    21·   ·professionals to work on its ships?                     21·   ·you knew as the Vice President of Security that most
    22·   · · · · · · · · MS. CABEZA:· Objection form.             22·   ·of the cruise ship rapes and sexual assaults occur
    23·   · · · A· · I think they considered it at one time,       23·   ·in the staterooms, correct?
    24·   ·but they were just worried about their knowledge of     24·   · · · · · · · · MS. CABEZA:· Objection form.
    25·   ·shipboard activity versus land-based activity.          25·   · · · A· · I would say most of them, yes.
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    ·1·   ·BY MR. GERSON:                                          ·1·   · · · · · · · · MS. CABEZA:· Objection form.
    ·2·   · · · Q· · Okay.· Most of them include passengers,       ·2·   ·BY MR. GERSON:
    ·3·   ·including adolescents, correct?                         ·3·   · · · Q· · And you have also investigated those
    ·4·   · · · · · · · · MS. CABEZA:· Objection form.             ·4·   ·instances prior to being the Vice President of
    ·5·   · · · A· · Most of them?                                 ·5·   ·Security, correct?
    ·6·   ·BY MR. GERSON:                                          ·6·   · · · · · · · · MS. CABEZA:· Objection form.
    ·7·   · · · Q· · Some of them?                                 ·7·   · · · A· · Correct.
    ·8·   · · · A· · Some of them, yeah.                           ·8·   ·BY MR. GERSON:
    ·9·   · · · Q· · A good majority of them, right?               ·9·   · · · Q· · And those same -- those same allegations
    10·   · · · · · · · · MS. CABEZA:· Objection form.             10·   ·and reports that you were aware of, both when you
    11·   · · · A· · Some of them.                                 11·   ·were a member of -- when you are the Vice President
    12·   ·BY MR. GERSON:                                          12·   ·of Security and as just the director, some of those
    13·   · · · Q· · And the types of allegations that you have    13·   ·incidents also included late reporting, correct?
    14·   ·been aware of in the past, tell me about them?          14·   · · · · · · · · MS. CABEZA:· Objection form.
    15·   · · · · · · · · MS. CABEZA:· Objection form.             15·   · · · A· · Some have been, yes.
    16·   · · · A· · You want me to discuss cases with you?        16·   ·BY MR. GERSON:
    17·   ·BY MR. GERSON:                                          17·   · · · Q· · Now why doesn't Carnival have more
    18·   · · · Q· · Well, you don't have to tell me the           18·   ·stringent requirements for security officers with
    19·   ·specific case.· But have you ever been aware of a       19·   ·respect to the qualifications and experience before
    20·   ·passenger who claimed that she was walking down         20·   ·working on a cruise ship?
    21·   ·her -- to her stateroom and she was forced into         21·   · · · · · · · · MS. CABEZA:· Objection form.
    22·   ·another stateroom where she was attacked by             22·   · · · A· · More?· They met the minimal requirements
    23·   ·passengers?                                             23·   ·and they had the training to fulfill their duties.
    24·   · · · · · · · · MS. CABEZA:· Objection form.             24·   ·BY MR. GERSON:
    25·   · · · A· · There has been allegations of that, yes.      25·   · · · Q· · Well, you said the minimum requirements --

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    ·1·   ·BY MR. GERSON:                                          ·1·   ·you said there were no minimum requirements?
    ·2·   · · · Q· · Okay.· There has been lots of those           ·2·   · · · A· · I didn't say that.· I said they had three
    ·3·   ·reports, haven't there been?                            ·3·   ·years of training and --
    ·4·   · · · · · · · · MS. CABEZA:· Objection form.             ·4·   · · · Q· · Three years, right.
    ·5·   · · · A· · Being pulled into a cabin?· Lots of them?     ·5·   · · · · · ·But the three years --
    ·6·   ·I wouldn't use that word either.                        ·6·   · · · A· · They had to go to Magsaysay.· They had to
    ·7·   ·BY MR. GERSON:                                          ·7·   ·go through on-the-job training.· They had to shadow
    ·8·   · · · Q· · Okay.· Well, there have been -- you don't     ·8·   ·a senior officer.· And then they would be cut free
    ·9·   ·deny that there --                                      ·9·   ·if they passed all of those stages.
    10·   · · · A· · They have happened.                           10·   · · · Q· · Well, why is there --
    11·   · · · Q· · They have happened?                           11·   · · · A· · During that time there is a lot of
    12·   · · · A· · It has happened, yes.                         12·   ·training, a lot of knowledge of the ships, and how
    13·   · · · Q· · And what are some of the other context --     13·   ·to handle ship security.
    14·   ·or have there been other reports of passengers who      14·   · · · Q· · Where does the training come from?
    15·   ·have reported they have been the victim of a rape or    15·   · · · A· · Which training?
    16·   ·a sexual assault because they were intoxicated and      16·   · · · Q· · As the training you are referring to.· You
    17·   ·accompanied by strangers down to the staterooms         17·   ·said there is a lot of training.· So talk to me
    18·   ·where they were subsequently attacked?                  18·   ·about the training for --
    19·   · · · · · · · · MS. CABEZA:· Objection form.             19·   · · · A· · Magsaysay.
    20·   · · · A· · Yes.                                          20·   · · · Q· · So talk to me about the training for
    21·   ·BY MR. GERSON:                                          21·   ·patrolling hot spots?
    22·   · · · Q· · And that's -- those -- you have read those    22·   · · · · · · · · MS. CABEZA:· Objection form.
    23·   ·reports during the time that you were the Vice          23·   · · · A· · Develop --
    24·   ·President of Security, correct?                         24·   · · · · · ·(Simultaneously speaking.)
    25·   · · · A· · Correct.                                      25
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    ·1·   ·BY MR. GERSON:                                          ·1·   · · · A· · It's behind closed doors, Counselor.
    ·2·   · · · Q· · -- hot spot, correct?                         ·2·   · · · Q· · You could have patrols that -- increase
    ·3·   · · · A· · Developed out of my office --                 ·3·   ·patrol or increase patrols during certain hours,
    ·4·   · · · Q· · But --                                        ·4·   ·such as the early morning hours, in the corridor
    ·5·   · · · A· · -- patrol, talk to them, outlined at this     ·5·   ·areas, right?
    ·6·   ·time, practical experience with a senior officer        ·6·   · · · · · · · · MS. CABEZA:· Objection form.
    ·7·   ·showing how to patrol on a vessel.                      ·7·   · · · A· · Based on the vessel, based on the
    ·8·   · · · Q· · And where did the information of how to       ·8·   ·itinerary, based on the activity, based on the
    ·9·   ·adequately patrol a vessel come from?                   ·9·   ·ship's security officer, assess the post orders,
    10·   · · · A· · My office.                                    10·   ·that is where scheduling comes in.
    11·   · · · Q· · And when you say your office, where did       11·   ·BY MR. GERSON:
    12·   ·you get the information?                                12·   · · · Q· · Now not only are there reports of alleged
    13·   · · · A· · I had, I don't know, ten or 12                13·   ·rapes and sexual assaults on the cruise ships, isn't
    14·   ·investigators, all retired law enforcement, all         14·   ·it true that Carnival maintains information that
    15·   ·certified police officers, all certified in patrol      15·   ·memorializes complaints by passengers about various
    16·   ·tactics, practical experience and patrol tactics,       16·   ·issues, including the quality of security?
    17·   ·investigation, deescalation.                            17·   · · · · · · · · MS. CABEZA:· Objection form.
    18·   · · · Q· · You already told me, Mr. Froio, that          18·   · · · A· · Yes.
    19·   ·you -- it is your belief that crime at sea is           19·   ·BY MR. GERSON:
    20·   ·different than crime on land, right?                    20·   · · · Q· · Do you ever review that information or did
    21·   · · · A· · I didn't say that.                            21·   ·you ever review that information?
    22·   · · · · · · · · MS. CABEZA:· Objection form.             22·   · · · · · · · · MS. CABEZA:· Objection form.
    23·   · · · A· · (Continued)· To a certain extent.             23·   · · · A· · Over the years, of course.
    24·   ·BY MR. GERSON:                                          24·   ·BY MR. GERSON:
    25·   · · · Q· · Okay.· To what extent?                        25·   · · · Q· · Well, was there any policy in place for

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    ·1·   · · · A· · The ability to translate patrol tactics       ·1·   ·the frequency in which you would review passenger
    ·2·   ·from a shoreside perspective in a patrol car to a       ·2·   ·complaints about the nature of quality of security
    ·3·   ·foot-roving patrol on a ship is different.· And         ·3·   ·services that were being provided on Carnival cruise
    ·4·   ·until you have the feel of the vessel, understand       ·4·   ·ships?
    ·5·   ·the vessel, understand the hot spots, the entrance,     ·5·   · · · · · · · · MS. CABEZA:· Objection form.
    ·6·   ·the exits, where things happen, it is different.        ·6·   · · · A· · I would have to generalize that to say
    ·7·   · · · Q· · What is a hot spot?                           ·7·   ·anything that I really reviewed from a guest
    ·8·   · · · A· · The disco, the pool --                        ·8·   ·complaint could have been the way security
    ·9·   · · · Q· · What is your definition of a hot spot?        ·9·   ·approached them or his voice was too loud, or if
    10·   · · · A· · A lot of activity.                            10·   ·there was a fight they used too much force.
    11·   · · · Q· · Is a hot spot also an area where crime is     11·   · · · · · ·Again, I would be guessing to say that I
    12·   ·more likely to occur?                                   12·   ·read complaints that said you need more security.
    13·   · · · A· · Depends on what you are talking about.        13·   ·Is it possible?· Of course, it is possible the time
    14·   · · · · · · · · MS. CABEZA:· Objection form.             14·   ·I spent there.
    15·   ·BY MR. GERSON:                                          15·   ·BY MR. GERSON:
    16·   · · · Q· · Well, in the context of rape or sexual        16·   · · · Q· · Were you aware that there had been
    17·   ·assault, staterooms would be considered a hot spot,     17·   ·hundreds and hundreds of complaints in the five
    18·   ·wouldn't it?                                            18·   ·years prior to -- or three years prior to 2019 about
    19·   · · · · · · · · MS. CABEZA:· Objection form.             19·   ·the quality of security services that Carnival was
    20·   · · · A· · How are you going to patrol a stateroom?      20·   ·providing by its passengers?
    21·   ·BY MR. GERSON:                                          21·   · · · · · · · · MS. CABEZA:· Objection form.
    22·   · · · Q· · Well, you wouldn't --                         22·   · · · A· · Hundreds of complaints?
    23·   · · · · · ·(Simultaneously speaking.)                    23·   ·BY MR. GERSON:
    24·   · · · A· · It's behind closed doors, Counselor.          24·   · · · Q· · Yes.
    25·   · · · Q· · -- a stateroom --                             25·   · · · A· · I am unaware of that.
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    ·1·   · · · Q· · Now when we started out the deposition,       ·1·   ·say, Carnival Horizon, where would you deploy them?
    ·2·   ·you had told me that you had some basic                 ·2·   · · · · · · · · MS. CABEZA:· Objection form.
    ·3·   ·understanding or familiarity or basic recollection      ·3·   · · · A· · I would have to look at the layout of the
    ·4·   ·of the incident involving J.F., correct?                ·4·   ·ship again.· If there was a lot of fights in the
    ·5·   · · · · · · · · MS. CABEZA:· Objection form.             ·5·   ·disco, a lot of fights at a pool bar, if there was
    ·6·   · · · A· · My recollection is that it happened on the    ·6·   ·stowaway issues on an outer island, it just all
    ·7·   ·Horizon.                                                ·7·   ·depends.
    ·8·   ·BY MR. GERSON:                                          ·8·   ·BY MR. GERSON:
    ·9·   · · · Q· · What was your --                              ·9·   · · · Q· · Well --
    10·   · · · A· · How it happened, I haven't -- again, if       10·   · · · A· · I would rely, again, on the staff captain
    11·   ·you serve me with the proper documents, maybe I         11·   ·and the chief security officer.
    12·   ·would recall more.· But I don't -- I can't tell you     12·   · · · Q· · Okay.· Well, knowing, as you told me, most
    13·   ·the specifics of that incident.                         13·   ·of the rapes and sexual assaults that are reported
    14·   · · · Q· · Okay.· Are you familiar with something        14·   ·on the cruise ships occur in the passenger
    15·   ·called the LockLink records?                            15·   ·corridors, would you -- if you had been -- if the
    16·   · · · A· · The what?                                     16·   ·budget permitted it and you were provided more
    17·   · · · Q· · LockLinks?                                    17·   ·security officers, say half a dozen as you made
    18·   · · · A· · It doesn't ring a bell.                       18·   ·reference earlier, would you have suggested that
    19·   · · · Q· · The documentation --                          19·   ·those security officers be assigned to the passenger
    20·   · · · A· · Oh, LockLink.                                 20·   ·corridor areas?
    21·   · · · Q· · Yes.                                          21·   · · · · · · · · MS. CABEZA:· Objection form.
    22·   · · · A· · Yes.· Sorry.                                  22·   · · · A· · I would look at the numbers of incidents
    23·   · · · Q· · What are LockLink records?                    23·   ·that happened regarding a sexual assault in a cabin,
    24·   · · · A· · It shows access to a cabin or to any door     24·   ·in a corridor, and so on and so forth.· If there was
    25·   ·that is compatible on the system.                       25·   ·one, probably not.

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    ·1·   · · · Q· · And are you aware of what the procedure is    ·1·   · · · Q· · Well --
    ·2·   ·with respect to preservation of the LockLink records    ·2·   · · · A· · If there were ten, absolutely.
    ·3·   ·on Carnival ships prior to you retiring?                ·3·   · · · Q· · Well, from a global --
    ·4·   · · · · · · · · MS. CABEZA:· Objection form.             ·4·   · · · A· · Hypothetical numbers I am throwing out.
    ·5·   · · · A· · The amount of time to hold onto the           ·5·   · · · Q· · Well, from a global -- a fleet
    ·6·   ·LockLink?                                               ·6·   ·perspective, we already know and you have already
    ·7·   ·BY MR. GERSON:                                          ·7·   ·testified, that most of the rapes and sexual
    ·8·   · · · Q· · Yes.                                          ·8·   ·assaults on Carnival ships happen in the passenger
    ·9·   · · · A· · I cannot remember.                            ·9·   ·staterooms in a number of circumstances?
    10·   · · · Q· · To the best of your recollection what was     10·   · · · · · · · · MS. CABEZA:· Objection form.
    11·   ·it?                                                     11·   ·BY MR. GERSON:
    12·   · · · · · · · · MS. CABEZA:· Objection form.             12·   · · · Q· · Right?
    13·   · · · A· · I would be guessing.· I don't want to give    13·   · · · A· · Correct.
    14·   ·you a number.                                           14·   · · · Q· · So with that knowledge that that is where
    15·   ·BY MR. GERSON:                                          15·   ·most of the rapes and sexual assaults occur, would
    16·   · · · Q· · Well, I don't want you to guess, but what     16·   ·you -- and you were provided more security officers
    17·   ·is the best number you could give me based on what      17·   ·to staff Carnival ships, would you at least
    18·   ·you know?                                               18·   ·recommended that some of those resources be used in
    19·   · · · · · · · · MS. CABEZA:· Objection form.             19·   ·those areas?
    20·   · · · A· · How long you keep a LockLink?                 20·   · · · A· · Depends on the vessel.
    21·   ·BY MR. GERSON:                                          21·   · · · Q· · What would it depend on?
    22·   · · · Q· · Yeah.                                         22·   · · · A· · Amount of incidents in a cabin of sexual
    23·   · · · A· · I don't remember.                             23·   ·assault.
    24·   · · · Q· · If you were provided the six more security    24·   · · · Q· · Well, you agree that it's very difficult
    25·   ·officers that you made reference to earlier on the,     25·   ·to predict when a rape or sexual assault is going to
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    ·1·   ·happen, correct?                                        ·1·   ·a deterrent fleet wide on all Carnival ships no
    ·2·   · · · · · · · · MS. CABEZA:· Objection form.             ·2·   ·matter whether or not there was ten rapes and sexual
    ·3·   · · · A· · I am glad you are saying that, Counselor.     ·3·   ·assaults on a particular vessel over a number of
    ·4·   ·That is correct.                                        ·4·   ·years or just a certain number of rapes and sexual
    ·5·   ·BY MR. GERSON:                                          ·5·   ·assaults across the fleet?
    ·6·   · · · Q· · Which is all the reason why security          ·6·   · · · · · · · · MS. CABEZA:· Objection form.
    ·7·   ·deterrence and a security presence is needed in         ·7·   · · · A· · Again, Counselor, a uniform presence is
    ·8·   ·order to address the unknown about when a security      ·8·   ·nice.
    ·9·   ·incident may occur?                                     ·9·   ·BY MR. GERSON:
    10·   · · · · · · · · MS. CABEZA:· Objection form.             10·   · · · Q· · Why does --
    11·   · · · A· · Again, Counselor, you could have five         11·   · · · A· · There is no question about it.
    12·   ·policemen patrolling a block in Miami, you go around    12·   · · · Q· · Okay.
    13·   ·the corner, something could happen behind you. I        13·   · · · A· · But here you turn the corner, something
    14·   ·mean, it is --                                          14·   ·could happen.· If you have roving patrols, eyes and
    15·   ·BY MR. GERSON:                                          15·   ·ears, see something say something, you have quite a
    16·   · · · Q· · Well, you are --                              16·   ·few basis covered right there.· Around the clock
    17·   · · · A· · -- hit or miss.· It's hit or miss.· Visual    17·   ·there are crew members up in housekeeping or
    18·   ·is nice.· Sometimes undercover security is nice.        18·   ·whatever.
    19·   · · · Q· · Okay.· But when you say visual is nice,       19·   ·BY MR. GERSON:
    20·   ·you mean security presence is a good thing --           20·   · · · Q· · Having nine security officers to patrol a
    21·   · · · A· · Yes.                                          21·   ·passenger vessel with 15 decks and 4,000 passengers
    22·   · · · Q· · -- in terms of deterring crime, correct?      22·   ·isn't enough, is it --
    23·   · · · · · · · · MS. CABEZA:· Objection form.             23·   · · · · · · · · MS. CABEZA:· Objection form.
    24·   · · · A· · Yes, sir.                                     24·   ·BY MR. GERSON:
    25                                                             25·   · · · Q· · -- to a shift?

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    ·1·   ·BY MR. GERSON:                                          ·1·   · · · A· · It is adequate.
    ·2·   · · · Q· · Okay.· When you are a police officer          ·2·   · · · Q· · Based on what?
    ·3·   ·working for the New York State Police, you had a        ·3·   · · · A· · The number of incidents on the vessel.
    ·4·   ·uniform, a cop car, right?                              ·4·   · · · Q· · If it was adequate, why are you requesting
    ·5·   · · · · · · · · MS. CABEZA:· Objection form.             ·5·   ·more?
    ·6·   · · · A· · Not always.                                   ·6·   · · · · · · · · MS. CABEZA:· Objection form.
    ·7·   ·BY MR. GERSON:                                          ·7·   · · · A· · I told you earlier, you are talking to a
    ·8·   · · · Q· · Your presence was known, right?               ·8·   ·security guy.· The more is always better.· You will
    ·9·   · · · A· · When I was --                                 ·9·   ·never say you have enough, you always ask for more.
    10·   · · · · · · · · MS. CABEZA:· Objection form.             10·   ·BY MR. GERSON:
    11·   · · · A· · (Continued) -- in uniform, yes.               11·   · · · Q· · Could Carnival have had less than nine
    12·   ·BY MR. GERSON:                                          12·   ·security officers or -- strike that.
    13·   · · · Q· · And you were in uniform.                      13·   · · · · · ·Based on the security deployment schedule
    14·   · · · · · ·And your security officers that are           14·   ·if there were ten security officers working a
    15·   ·working on a cruise ship, if there are only nine        15·   ·particular shift on a Carnival ship and three of
    16·   ·security officers per shift that are required to        16·   ·them are assigned to the nightclub, doesn't that
    17·   ·patrol 15 decks, you theoretically have a security      17·   ·create a security vulnerability with respect to
    18·   ·officer patrolling the engine room with the same        18·   ·other areas of the ship during that timeframe.
    19·   ·frequency that they are patrolling a passenger          19·   · · · · · · · · MS. CABEZA:· Objection form.
    20·   ·stateroom over a number of hours --                     20·   · · · A· · Everything is hypothetical what you are
    21·   · · · · · · · · MS. CABEZA:· Objection form.             21·   ·saying, Counselor.
    22·   ·BY MR. GERSON:                                          22·   ·BY MR. GERSON:
    23·   · · · Q· · -- isn't that correct?                        23·   · · · Q· · Well, I want you to take my hypothetical
    24·   · · · A· · Okay.                                         24·   ·into account in the sense that --
    25·   · · · Q· · So having more security officers would be     25·   · · · A· · I am not going to -- I am not going to
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    ·1·   ·affirm a hypothetical.                                  ·1·   · · · A· · Well, I am taking it that you are.
    ·2·   · · · Q· · Okay.· Well, I would like you to assume       ·2·   · · · Q· · No, I am not.
    ·3·   ·for purposes of my question that the testimony in       ·3·   · · · A· · You just threw Carnival at me when I said
    ·4·   ·this case is that there was a certain number of         ·4·   ·between us we know there are lines out there that
    ·5·   ·security officers that were assigned to the             ·5·   ·did not report.
    ·6·   ·nightclub on the Carnival Horizon on the evening and    ·6·   · · · Q· · Well --
    ·7·   ·morning hours in which my client, J.F., alleges she     ·7·   · · · A· · And the reason why the answer to your
    ·8·   ·was raped and sexual assault in her stateroom.          ·8·   ·question -- let me --
    ·9·   ·Okay?                                                   ·9·   · · · Q· · I am sorry.· I am not trying to interrupt
    10·   · · · · · ·There is also testimony in the record that    10·   ·you, sir?
    11·   ·that number is in the neighborhood of approximately     11·   · · · A· · All right.
    12·   ·three security officers that were assigned to the       12·   · · · Q· · My point to you, so you understand where I
    13·   ·nightclub during those hours.· Okay?                    13·   ·am coming from, is that CVSSA was enacted as a
    14·   · · · · · ·You had --                                    14·   ·response to a concern in the United States about the
    15·   · · · A· · What time was the incident?                   15·   ·number of rapes and sexual assaults and other
    16·   · · · Q· · In the early morning hours?                   16·   ·violent crimes that were occurring in the cruise
    17·   · · · A· · Early morning hours?                          17·   ·line industry, which included Carnival.
    18·   · · · Q· · Yeah, I don't have an exact time.· But my     18·   · · · · · · · · MS. CABEZA:· Objection form.
    19·   ·point is that if you have three security officers       19·   · · · A· · That I am aware of, yes.
    20·   ·working in the nightclub and you only have a total      20·   ·BY MR. GERSON:
    21·   ·of nine or ten, then you have another fourteen decks    21·   · · · Q· · Okay.
    22·   ·that need to be manned by what is left.                 22·   · · · A· · I understand why CVSSA was implemented. I
    23·   · · · · · · · · MS. CABEZA:· Objection form.             23·   ·understand it.
    24·   ·BY MR. GERSON:                                          24·   · · · Q· · And even with that knowledge, no changes
    25·   · · · Q· · How is that enough?                           25·   ·to increase the quality of security personnel or the

                                                        Page 123                                                       Page 125
    ·1·   · · · · · · · · MS. CABEZA:· Objection form.             ·1·   ·number of security personnel were implemented by
    ·2·   · · · A· · How many sexual assaults were on the          ·2·   ·Carnival as a measure to try and reduce, prevent, or
    ·3·   ·Horizon that week?· One?· One allegation?               ·3·   ·deter rape and sexual assault with respect to the
    ·4·   ·BY MR. GERSON:                                          ·4·   ·number of security officers Carnival was employing
    ·5·   · · · Q· · Does that make it okay?                       ·5·   ·on its ships during the five years prior to 2019?
    ·6·   · · · A· · It doesn't make it okay.· But was there       ·6·   · · · · · · · · MS. CABEZA:· Objection form.
    ·7·   ·just one?· Then I can tell you that it is working.      ·7·   · · · A· · That is not factual, Counselor.
    ·8·   · · · Q· · If it was working, why was the Cruise Ship    ·8·   ·BY MR. GERSON:
    ·9·   ·Safety and Security Act of 2010 enacted, which you      ·9·   · · · Q· · Let me just ask you a quick couple of
    10·   ·already testified that you were present for and         10·   ·follow-up questions, if you don't mind, and I should
    11·   ·aware of and actually met with members of Congress      11·   ·be done.
    12·   ·about?                                                  12·   · · · · · ·Mr. Froio, you have given me your address
    13·   · · · · · · · · MS. CABEZA:· Objection form.             13·   ·when we started, correct?
    14·   · · · A· · You, as well as I, know that there are        14·   · · · A· · Yes.· While we are on the topic, please
    15·   ·cruise lines out there that aren't trained, didn't      15·   ·serve me by telephone.· I am not the kind of guy
    16·   ·report, and so on and so forth.                         16·   ·that is going to evade you.
    17·   ·BY MR. GERSON:                                          17·   · · · Q· · Okay.
    18·   · · · Q· · And Carnival was one of them?                 18·   · · · A· · Sometimes in the evening -- my wife just
    19·   · · · A· · Carnival is not one of them.· I can tell      19·   ·got out of the hospital.
    20·   ·you that right now.· I am telling you right now --      20·   · · · Q· · I am sorry.
    21·   ·people want to clean my office.                         21·   · · · A· · She even accepted the subpoena.
    22·   · · · · · ·I can tell you right now Carnival has         22·   · · · Q· · I didn't know that.· I apologize.· Nothing
    23·   ·always been proactive, has always done the right        23·   ·personal about that.· Just following the procedures.
    24·   ·thing, no coverups under this guy's watch ever.         24·   · · · A· · You got my name, you got my phone number.
    25·   · · · Q· · And I am not suggesting that you have.        25·   ·If you ever need me again.
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    ·1·   · · · Q· · Okay.                                         ·1·   · · · sure you haven't eaten any lunch or
    ·2·   · · · A· · Okay.                                         ·2·   · · · anything.· Or do you prefer to continue on
    ·3·   · · · Q· · I appreciate that.· And, you know, I am       ·3·   · · · right now?
    ·4·   ·just following the procedures in order to make sure     ·4·   · · · · · · · · THE WITNESS:· Yeah, we can
    ·5·   ·that you appear, otherwise theoretically you have no    ·5·   · · · continue.· Did you say 30 minutes?
    ·6·   ·obligation in the absence of a subpoena.· And no        ·6·   · · · · · · · · MS. CABEZA:· Yeah, I am not sure
    ·7·   ·intention was -- there was no intention to startle      ·7·   · · · if Mr. Gerson might have a few follow up
    ·8·   ·your wife or any of your family members.                ·8·   · · · after that, but I have approximately 30
    ·9·   · · · · · ·I just have a couple of follow-up             ·9·   · · · minutes of questions I would say, maybe
    10·   ·questions for you, Mr. Froio.                           10·   · · · less.
    11·   · · · · · ·We have already established that you are      11·   · · · · · · · · THE WITNESS:· We will continue.
    12·   ·not a member of As Is, correct?                         12·   · · · · · · · · MR. GERSON:· Can we just take a
    13·   · · · A· · That's correct?                               13·   · · · two-minute break?· Is that okay?
    14·   · · · Q· · You hold no official license or training      14·   · · · · · · · · MS. CABEZA:· That is fine.
    15·   ·or certification -- or you hold no security officer     15·   · · · · · · · · THE VIDEOGRAPHER:· Off the
    16·   ·license in the state of Florida, correct?               16·   · · · record 12:50 p.m.
    17·   · · · A· · Correct.                                      17·   · · · · · · · · (Whereupon, a short recess was
    18·   · · · Q· · You don't hold any security manager's         18·   · · · taken.)
    19·   ·license in the state of Florida, correct?               19·   · · · · · · · · THE VIDEOGRAPHER:· On the record
    20·   · · · A· · Correct.                                      20·   · · · 12:58 p.m.
    21·   · · · Q· · Your security officers on your cruise         21·   · · · · · · · · · CROSS EXAMINATION
    22·   ·ships don't hold any security licenses issued by any    22·   ·BY MS. CABEZA:
    23·   ·sort of agency in the United States, correct?           23·   · · · Q· · Mr. Gerson kept asking you about the six
    24·   · · · A· · That's not correct.                           24·   ·more security officers, correct?
    25·   · · · Q· · Okay.· How am I not correct?                  25·   · · · A· · Yes, ma'am.

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    ·1·   · · · A· · MARAD, maritime administration Federal        ·1·   · · · Q· · You never testified that Carnival needed
    ·2·   ·Government certified our training for shipboard         ·2·   ·six security officers on the Horizon, correct?
    ·3·   ·security.· Upon the completion of the two-week          ·3·   · · · · · · · · MR. GERSON:· Form.
    ·4·   ·training, which abides by all the criteria              ·4·   · · · A· · Needed?· No, I did not.
    ·5·   ·recommended by MARAD, they give a certification on.     ·5·   ·BY MS. CABEZA:
    ·6·   ·That certification goes from the staff captain to       ·6·   · · · Q· · RAINN never told Carnival that it needed
    ·7·   ·the chief security who does on board training, train    ·7·   ·six more security officers on the Horizon, correct?
    ·8·   ·the trainers.· So security officers should have had     ·8·   · · · · · · · · MR. GERSON:· Form.
    ·9·   ·a MARAD certification from the United States.           ·9·   · · · A· · Correct.
    10·   · · · Q· · What is your educational background?          10·   ·BY MS. CABEZA:
    11·   · · · A· · I have got a master's -- mid career           11·   · · · Q· · Carnival ships were RAINN certified at the
    12·   ·master's degree from Syracuse University in public      12·   ·time of the incident?
    13·   ·administration, a bachelor degree in sociology, AS      13·   · · · A· · Yes.
    14·   ·degree in criminology, New York State Police            14·   · · · Q· · Mr. Gerson asked you about all alleged
    15·   ·Academy, the Florida Academy.                           15·   ·rapes and sexual assaults that may have occurred on
    16·   · · · · · · · · MR. GERSON:· I don't have                16·   ·ships in the past ten years.· Do you remember that?
    17·   · · · anything further for you at this time. I           17·   · · · A· · Yes.
    18·   · · · appreciate you making yourself available,          18·   · · · Q· · But you don't remember the number of
    19·   · · · and I have nothing further for you.                19·   ·alleged rapes or sexual assaults, correct?
    20·   · · · · · · · · I don't know if anyone else has          20·   · · · · · · · · MR. GERSON:· Form.
    21·   · · · any questions.                                     21·   · · · A· · No, I do not.
    22·   · · · · · · · · MS. CABEZA:· Mr. Froio, I have           22·   ·BY MS. CABEZA:
    23·   · · · about, I would say, 30 minutes of                  23·   · · · Q· · Just because an assault is reported
    24·   · · · questioning.· Would you prefer to take a           24·   ·doesn't mean it occurred?
    25·   · · · short 15-minute break.· I know -- I am             25·   · · · · · · · · MR. GERSON:· Form.
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                                                        Page 130                                                       Page 132
    ·1·   ·BY MS. CABEZA:                                          ·1·   ·staterooms?
    ·2·   · · · Q· · Correct?                                      ·2·   · · · A· · Correct.
    ·3·   · · · A· · Correct.                                      ·3·   · · · Q· · However sexual assaults don't occur in the
    ·4·   · · · Q· · Let me ask you a little bit about your        ·4·   ·passenger corridors, correct?
    ·5·   ·experience as a police officer in comparing that to     ·5·   · · · · · · · · MR. GERSON:· Form.
    ·6·   ·when you are involved with security on a ship.          ·6·   · · · A· · Did I say that it never happened in a
    ·7·   ·Policing in a city is done with police officers         ·7·   ·corridor?· I am not sure.
    ·8·   ·being posted in some areas where incidents are known    ·8·   ·BY MS. CABEZA:
    ·9·   ·to occur and then police generally patrol or respond    ·9·   · · · Q· · Well, so if anything, the assaults
    10·   ·to other areas?                                         10·   ·occurred inside the cabins themselves where the
    11·   · · · · · · · · MR. GERSON:· Form.                       11·   ·security is not allowed to be stationed?
    12·   · · · A· · Correct.                                      12·   · · · A· · That's correct.
    13·   ·BY MS. CABEZA:                                          13·   · · · Q· · Security, in fact, cannot monitor the
    14·   · · · Q· · Police aren't stationed outside of            14·   ·interior of passenger cabins, correct?
    15·   ·anyone's home, correct?                                 15·   · · · A· · Correct.
    16·   · · · A· · Correct.                                      16·   · · · Q· · In your 27 years of experience in Carnival
    17·   · · · Q· · Ships are similar, correct?                   17·   ·security, would you agree that Carnival did a good
    18·   · · · A· · Repeat that, please.                          18·   ·job?
    19·   · · · Q· · That cruise ships are similar, correct?       19·   · · · · · · · · MR. GERSON:· Form.
    20·   · · · · · · · · MR. GERSON:· Form.                       20·   · · · A· · Yes, I agree with that.
    21·   · · · A· · In an aspect, yes.                            21·   ·BY MS. CABEZA:
    22·   ·BY MS. CABEZA:                                          22·   · · · Q· · Implemented additional measures to enhance
    23·   · · · Q· · You have security officers stationed at       23·   ·security?
    24·   ·areas where you might expect there to be more           24·   · · · A· · Yes.
    25·   ·incidents, like the nightclub?                          25·   · · · Q· · Carnival security met the legal standard

                                                        Page 131                                                       Page 133
    ·1·   · · · A· · Correct.                                      ·1·   ·in place at the time?
    ·2·   · · · Q· · Then you would have security officers         ·2·   · · · · · · · · MR. GERSON:· Form.
    ·3·   ·patrolling other areas?                                 ·3·   · · · A· · Correct.
    ·4·   · · · A· · Correct.                                      ·4·   ·BY MS. CABEZA:
    ·5·   · · · Q· · So take the City of Buffalo where you         ·5·   · · · Q· · Then once the Cruise Vessel Safety
    ·6·   ·worked for 20 years, comparing that to a ship, there    ·6·   ·Security Act was made law, Carnival also complied
    ·7·   ·are more security officers per passenger on a ship      ·7·   ·with the law security measures and requirements,
    ·8·   ·than there were police officers per citizen of the      ·8·   ·correct?
    ·9·   ·City of Buffalo, correct?                               ·9·   · · · · · · · · MR. GERSON:· Form.
    10·   · · · · · · · · MR. GERSON:· Form.                       10·   · · · A· · Yes, ma'am.
    11·   · · · A· · I can only rely on what you are saying. I     11·   ·BY MS. CABEZA:
    12·   ·would think so.                                         12·   · · · Q· · There are incidents, like assaults in
    13·   ·BY MS. CABEZA:                                          13·   ·passenger cabins behind closed doors, that no number
    14·   · · · Q· · You were asked about the stationing           14·   ·of security officers could prevent, correct?
    15·   ·security officers in corridors.· Do you remember        15·   · · · A· · In my opinion it's very difficult to
    16·   ·that?                                                   16·   ·prevent something like that.
    17·   · · · · · · · · MR. GERSON:· Form.                       17·   · · · Q· · There were -- sorry, strike that.
    18·   · · · A· · Yes.                                          18·   · · · · · ·You were asked about staffing security
    19·   ·BY MS. CABEZA:                                          19·   ·officers during your 27 years at Carnival --
    20·   · · · Q· · You were also asked about where sexual        20·   · · · · · · · · MR. GERSON:· Form.
    21·   ·assaults were known to sometimes occur?                 21·   ·BY MS. CABEZA:
    22·   · · · · · · · · MR. GERSON:· Form.                       22·   · · · Q· · -- correct?
    23·   · · · A· · Yes.                                          23·   · · · A· · Yes.
    24·   ·BY MS. CABEZA:                                          24·   · · · Q· · There was a time that you asked for more
    25·   · · · Q· · You mentioned that they occur sometimes in    25·   ·security officers to staff ships, correct?
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                                                        Page 134                                                       Page 136
    ·1·   · · · A· · Yes.                                          ·1·   · · · · · ·THE WITNESS:· I waive.· I defer
    ·2·   · · · Q· · The number of the security officers you       ·2·   ·to you, Lauren and Charlotte.
    ·3·   ·asked for on each ship depended on the type of ship     ·3·   · · · · · ·THE VIDEOGRAPHER:· Okay.· Off
    ·4·   ·and its itinerary, correct?                             ·4·   ·the record 1:05 p.m.
    ·5·   · · · A· · Correct.                                      ·5·   · · · · · ·(Whereupon, the video portion of
    ·6·   · · · Q· · There are, in fact, many things               ·6·   ·the deposition was concluded.)
    ·7·   ·considered, such as the hot spots, the size of the      ·7·   · · · · · ·MR. GERSON:· We will take an
    ·8·   ·vessel, the amount of passengers, correct?              ·8·   ·Etran.
    ·9·   · · · · · · · · MR. GERSON:· Form.                       ·9·   · · · · · ·THE COURT REPORTER:· All right.
    10·   · · · A· · Correct.                                      10·   ·Just regular turnaround?
    11·   ·BY MS. CABEZA:                                          11·   · · · · · ·MR. GERSON:· Yeah, and then we
    12·   · · · Q· · You also mentioned a budget earlier, but      12·   ·have one exhibit, I believe.· That was the
    13·   ·that was only one of the many considerations when       13·   ·deck plan.· We will mark it if it wasn't
    14·   ·staffing security officers on the ships, correct?       14·   ·identified, that's Exhibit 1 to the depo.
    15·   · · · · · · · · MR. GERSON:· Form.                       15·   · · · · · ·Okay?
    16·   · · · A· · Correct.                                      16·   · · · · · ·THE COURT REPORTER:· All right.
    17·   ·BY MS. CABEZA:                                          17·   · · · · · ·Lauren, do you need a copy?
    18·   · · · Q· · Would you agree with me that you would        18·   · · · · · ·MS. CABEZA:· Yes, please.
    19·   ·always in a perfect world like to have more security    19·   · · · · · ·THE COURT REPORTER:· All right.
    20·   ·officers?                                               20·   · · · · · ·Have a great day all of you.
    21·   · · · A· · I agree.                                      21·   · · · · · ·THE WITNESS:· Have a good day
    22·   · · · Q· · Just like in a perfect world, you would       22·   ·everybody.
    23·   ·like to have more police officers in a city?            23·   · · · · · ·THE COURT REPORTER:· You, too.
    24·   · · · A· · Correct.                                      24·   · · · · · ·MS. CABEZA:· Thank you,
    25·   · · · Q· · Do you believe the number of security         25·   ·Dominick.

                                                        Page 135                                                       Page 137
    ·1·   ·officers on board the Horizon was reasonable --         ·1·   · · · (Whereupon, Plaintiff's Exhibit No. 1 was
    ·2·   · · · · · · · · MR. GERSON:· Form.                       ·2·   ·marked for identification.)
    ·3·   ·BY MS. CABEZA:                                          ·3
    ·4·   · · · Q· · -- correct?                                   ·4·   · · · · · ·(The reading and signing of the
    ·5·   · · · A· · Correct.                                      ·5·   · · ·deposition was requested.
    ·6·   · · · · · · · · MS. CABEZA:· No further                  ·6
    ·7·   · · · questions.                                         ·7·   · · · · · ·(The deposition was concluded at
    ·8·   · · · · · · · · MR. GERSON:· I have nothing              ·8·   · · ·1:10 p.m.)
    ·9·   · · · further.                                           ·9
    10·   · · · · · · · · Mr. Froio, you have the                  10
    11·   · · · opportunity to read or waive.· You just            11
    12·   · · · have to state on the record what you want          12
    13·   · · · to do.· Most people waive.· But I don't            13
    14·   · · · want to tell you or influence you one way          14
    15·   · · · or another, but most people waive.                 15
    16·   · · · · · · · · THE WITNESS:· What was that read         16
    17·   · · · or what?                                           17
    18·   · · · · · · · · MR. GERSON:· Read or waive.              18
    19·   · · · · · · · · MS. CABEZA:· Read the deposition         19
    20·   · · · to ensure your testimony was accurately            20
    21·   · · · recorded and taken.· You can check if              21
    22·   · · · there are typos or mistakes, someone               22
    23·   · · · didn't understand.· You are able to ensure         23
    24·   · · · your testimony was recorded accurately.            24
    25·   · · · Or you can waive that right to do so.              25
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                                                             Page 138                                                    Page 140
    ·1·   · · · · · · · · ·CERTIFICATE OF OATH                          ·1· · · · · · · · · · · · · ERRATA
    ·2                                                                  ·2· · ·DO NOT WRITE ON TRANSCRIPT - ENTER CHANGES HERE
    ·3·   ·STATE OF FLORIDA )                                           ·3· ·IN RE: J.F. v Carnival Corporation; Dominick Froio,
    · ·   · · · · · · · · · )
                                                                        · · · · · · · · · · · ·Jr.; 02.28.2023
    ·4·   ·COUNTY OF BREVARD)
                                                                        ·4· ·PAGE & LINE
    ·5
    ·6                                                                  · · ·NUMBER· · · · · · · CORRECTION AND REASON THEREFORE
    ·7·   ·   · I, DEBORAH L. WATERS, CLP, FPR, Notary Public           ·5
    ·8·   ·   ·State of Florida, the undersigned authority, do          ·6· ·____________________________________________________
    ·9·   ·   · · · · ·hereby certify that the witness                  ·7· ·____________________________________________________
    10·   ·   · · · · · · · ·Dominick Froio, Jr.                        ·8· ·____________________________________________________
    11·   ·   · · · (Florida driver's license *** 9229-0)
                                                                        ·9· ·____________________________________________________
    12·   ·   · · · · personally appeared before me and
                                                                        10· ·____________________________________________________
    13·   ·   · · · · · · · · ·was duly sworn.
    14·   ·   · · · · WITNESS MY HAND AND OFFICIAL SEAL,                11· ·____________________________________________________
    15·   ·   · · · · ·this 28th day February of 2023,                  12· ·____________________________________________________
    16·   ·   · · · · · · · · at Viera, Florida                         13· ·____________________________________________________
    17                                                                  14· ·____________________________________________________
    18                                                                  15· ·____________________________________________________
    19
                                                                        16· ·____________________________________________________
    · ·   · · · · · ·________________________________
                                                                        17· ·____________________________________________________
    20
    · ·   ·   ·   ·   · · · ·DEBORAH L. WATERS, CLP, FPR                18· ·____________________________________________________
    21·   ·   ·   ·   · · · ·Certified Legal Professional               19· ·____________________________________________________
    · ·   ·   ·   ·   ·Certified Florida Professional Reporter          20· ·____________________________________________________
    22·   ·   ·   ·   · · Board Certified Civil Trial Law SS            21· ·Under penalties of perjury, I declare that I have
    · ·   ·   ·   ·   Notary Public, State of Florida at Large.
                                                                        22· ·read the foregoing document and that the facts
    23
                                                                        23· ·stated in it are true.
    24
                                                                        24· ·DATED: ________________ SIGNED:_____________________
    · ·   ·Notary Commission #GG 960326
    25·   ·Expires February 19, 2024                                    25· · · · · · · · · · · · · · · · · Dominick Froio, Jr.

                                                             Page 139                                                    Page 141
    ·1·   · ·C E R T I F I C A T E· · O F· · R E P O R T E R            ·1· · · · · · · · · · · · · ERRATA
    ·2·   ·STATE OF FLORIDA· )                                          ·2· · ·DO NOT WRITE ON TRANSCRIPT - ENTER CHANGES HERE
    · ·   · · · · · · · · · ·)
    ·3·   ·COUNTY OF BREVARD )                                          ·3· ·IN RE: J.F. v Carnival Corporation; Dominick Froio,
    ·4                                                                  · · · · · · · · · · · ·Jr.; 02.28.2023
    · ·   · · · I, Deborah L. Waters, Certified Legal
    ·5·   ·Professional, Certified Florida Professional                 ·4· ·PAGE & LINE
    · ·   ·Reporter, do hereby certify that I was authorized to         · · ·NUMBER· · · · · · · CORRECTION AND REASON THEREFORE
    ·6·   ·and did stenographically report the deposition of            ·5
    · ·   ·Dominick Froio, Jr.; that a review of the transcript
    ·7·   ·was requested; and that the foregoing transcript,            ·6· ·____________________________________________________
    · ·   ·Pages 1 through 137, is a true record of my                  ·7· ·____________________________________________________
    ·8·   ·stenographic notes.
    ·9·   · · · I, FURTHER CERTIFY, that I am not a relative,           ·8· ·____________________________________________________
    · ·   ·employee or attorney, or counsel of any of the               ·9· ·____________________________________________________
    10·   ·parties, nor am I a relative or employee of any of
                                                                        10· ·____________________________________________________
    · ·   ·the parties' attorney or counsel connected with the
    11·   ·action, nor am I financially interested in the               11· ·____________________________________________________
    · ·   ·action.                                                      12· ·____________________________________________________
    12
    · ·   · · · · · ·WITNESS MY HAND AND OFFICIAL SEAL this             13· ·____________________________________________________
    13·   ·10th day of March 2023, at Viera, Brevard County,            14· ·____________________________________________________
    · ·   ·Florida.
                                                                        15· ·____________________________________________________
    14
    15                                                                  16· ·___________________________________________________
    16                                                                  17· ·____________________________________________________
    17
    18                                                                  18· ·____________________________________________________
    19·   · · · · · ·________________________________                   19· ·____________________________________________________
    20
                                                                        20· ·____________________________________________________
    · ·   ·   ·   ·   · · · ·Deborah L. Waters, CLP, FPR
    21·   ·   ·   ·   · · · ·Certified Legal Professional               21· ·Under penalties of perjury, I declare that I have
    · ·   ·   ·   ·   ·Certified Florida Professional Reporter          22· ·read the foregoing document and that the facts
    22·   ·   ·   ·   · · Board Certified Civil Trial Law SS
    · ·   ·   ·   ·   Notary Public, State of Florida at Large          23· ·stated in it are true.
    23                                                                  24· ·DATED: ________________ SIGNED:_____________________
    24
                                                                        25· · · · · · · · · · · · · · · · · Dominick Froio, Jr.
    25
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